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 5
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 6
     Schwartz Foundation, Donald Charles Schwartz
 7   Michael L. Osterberg, Willie L. Brown, Jr.,
     Charles P. Schwartz, III, Paul Schwartz, David
 8
     Schwartz
 9
                                     UNITED STATES DISTRICT COURT,
10
11                                NORTHERN DISTRICT OF CALIFORNIA

12   SCHWARTZ FOUNDATION, DONALD                           ] No.
13   CHARLES SCHWARTZ, MICHAEL L.                          ]
     OSTERBERG, WILLIE L. BROWN, JR.,                      ] COMPLAINT FOR DAMAGES AND
14   CHARLES P. SCHWARTZ, III, PAUL                        ] EQUITABLE RELIEF based on:
15   DAVID SCHWARTZ, DAVID RICHARD                         ]
     SCHWARTZ,                                            1.] 1. Civil Racketeering;
16                                                        2.] 2. Accounting; and
                                     Plaintiffs,          3.] 3. Declaratory Relief
17
                                                           ]
18           vs.                                           ] JURY TRIAL DEMANDED
                                                           ]
19
     MARGOT DUFFY SCHWARTZ; NOAH                           ]
20   SCHWARTZ; and DOES 1 through 50,                      ]
     inclusive,                                            ]
21                      Defendants.                        ]
22
23
             COMES NOW PLAINTIFFS’ SCHWARTZ FOUNDATION, DONALD CHARLES
24
     SCHWARTZ, MICHAEL L. OSTERBERG, WILLIE L. BROWN, JR., CHARLES P.
25
     SCHWARTZ, III, PAUL D. SCHWARTZ and DAVID R. SCHWARTZ who allege as follows:
26
                                                    SUMMARY
27
        1.         This is an action brought to restore plaintiff Schwartz Foundation to its status prior to
28


                                                                                                               1
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 1   the pre-illegal hostile corporate takeover attempt and to recover damages from the criminal activity
 2   of defendant Margot Schwartz and her brother defendant Noah Schwartz in carrying forward their
 3   mother’s scheme to engage an illegal hostile corporate takeover and seize for themselves the assets
 4   of the Schwartz Foundation.
 5                                    DEMAND FOR JURY TRIAL
 6          2.       Plaintiffs Schwartz Foundation, Donald Charles Schwartz, Michael L. Osterberg,
 7   Willie L. Brown, Jr., Charles P. Schwartz, III, and David R. Schwartz demand a jury trial of this
 8   civil action.
 9                                           JURISDICTION
10          3.       This United States District Court has subject matter jurisdiction over this matter
11   pursuant to 28 United States §1331, which provides district courts with federal question
12   “jurisdiction over civil actions arising under the United States Constitution or laws of the United

13   States.”

14          4.       This Court also has personal jurisdiction over defendant Margot Schwartz, and
     defendant Noah Schwartz, and every other Doe defendant, who engaged in a conspiracy to
15
     perpetrate the acts, facts and events alleged herein. These acts, facts and events include the
16
     contrivance of criminally false Board Minutes and corporate filings with the State of California
17
     Secretary of State, the State of California Attorney General’s Office Registry of Charitable
18
     Organizations, the State of California Franchise Tax Board and the United States Internal
19
     Revenue Department.
20
            Defendants Margot Schwartz and Noah Schwartz have orchestrated an illegal removal of
21
     hundreds of thousands of dollars from the Schwartz Foundation banking accounts, having caused
22
     millions of dollars in damages to the Schwartz Foundation as well as lost reasonable non-profit
23   salaries to plaintiffs Donald Charles Schwartz (“Donald”) and Michael L. Osterberg (“Michael”)
24          Tens of millions of dollars of real property and investment assets remain in dispute.
25                                                 VENUE
26          5.       Venue is appropriate in United States District Court, Northern District of
27   California, California as set forth herein.
28


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 1                                                PARTIES
 2          6.     At all times relevant herein, plaintiff Schwartz Foundation is and was a State of
 3   California non-profit corporation founded by plaintiff Donald Charles Schwartz, his father, the
 4   Honorable Robert A. D. Schwartz and his then law partner, Thom R. Picarello in 1979 - as the
 5   founding Members of the Board of Directors, Schwartz Foundation. A true and correct copy of
 6   the founding Articles of Incorporation of the Schwartz Foundation are attached hereto as Exhibit

 7   1.

 8          Thereafter, in 1983, Board Member Thom R. Picarello resigned and was duly replaced
     with new Board Member plaintiff Michael L. Osterberg. A true and correct copy of the Schwartz
 9
     Foundation 1983 Board Resolution is attached hereto as Exhibit 2.
10
            No other changes were made to the Board of Directors of the Schwartz Foundation have
11
     been made prior to this dispute arising, e.g., after the death of the family patriarch, Robert A. D.
12
     Schwartz in 2017.
13
            7.     In 2017, Board Member Robert A. D. Schwartz died and was replaced in July 2023
14
     with plaintiff the Honorable Willie L. Brown, Jr.. Further, because the 1983 Board Resolution
15
     (Exhibit 2) created four Board seats on the Schwartz Foundation, also in July 2023 the fourth
16
     Board seat was filled with Robert A. D. Schwartz’s grandson, plaintiff Charles P. Schwartz, III.
17          Since then, plaintiffs Paul D. Schwartz and David R. Schwartz have been duly authorized
18   as Board Members of the Schwartz Foundation.
19          8.     At all times relevant, plaintiff Donald Charles Schwartz is and remains a resident
20   of the State of California. As the Chief Executive Officer, Schwartz Foundation, plaintiff Donald
21   Charles Schwartz is and remains a resident of the State of California and seeks damages for the
22   reasonable and fair lost non-profit salary for the management of the Schwartz Foundation, its
23   assets and other non-profit operations.
24          9.     At all times relevant, plaintiff Michael L. Osterberg is and remains a resident of
25   Alameda County, State of California. As the Chief Financial Officer/Treasurer, Schwartz

26   Foundation, plaintiff Michael L. Osterberg seeks damages for the reasonable and fair lost non-

27   profit salary for his management role within the Schwartz Foundation.
            10.    At all times relevant, plaintiff Honorable Willie L. Brown, Jr. is and remains a
28


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 1   resident of the City and County of San Francisco, State of California. Plaintiff Brown does not
 2   seek damages and joins in this Complaint in support thereof solely as the Chairman of the Board,
 3   Schwartz Foundation.
 4          11.    At all times relevant, plaintiff Charles P. Schwartz is and remains a resident of the
 5   State of California. As the corporate Secretary and Vice Chairman of the Board, Schwartz
 6   Foundation, plaintiff Charles P. Schwartz, III does not seek damages for his reasonable and fair

 7   lost salary for the management of the Schwartz Foundation and joins in this Complaint in support

 8   thereof solely as an Vice Chairman of the Board, Schwartz Foundation.
            12.    At all times relevant, plaintiff Paul D. Schwartz is and remains a resident of the
 9
     County of Alameda, State of California. As a retired professional, plaintiff Paul D. Schwartz
10
     does not seek damages for his reasonable and fair lost salary for the management of the Schwartz
11
     Foundation and joins in this Complaint in support thereof solely as a Member of the Board,
12
     Schwartz Foundation.
13
            13.    At all times relevant, plaintiff David R. Schwartz is and remains a resident of the
14
     County of Contra Costa, State of California. As a Member of the Board, plaintiff David R.
15
     Schwartz does not seek damages for his reasonable and fair lost salary for the management of
16
     the Schwartz Foundation and joins in this Complaint in support thereof solely as a Member of
17   the Board, Schwartz Foundation.
18          14.    At all times relevant herein, defendant Margot Duffy Schwartz is and remains a
19   resident of the State of Wisconsin, domiciled therein.
20          15.     At all times relevant herein, defendant Noah Schwartz is and remains a resident
21   of the County of Alameda, State of California, domiciled therein.
22          16.    The true names and capacities, whether individual, corporate, associate or
23   otherwise of defendants Does 1 through 50, inclusive, are unknown to plaintiffs at this time, who
24   therefore sue said defendants by such fictitious names and when the true names and capacities
25   of such defendants have been ascertained, plaintiffs will amend this Complaint accordingly.
26   Plaintiffs are informed and believe, and thereupon allege, that each defendant designated herein
27   as a Doe is responsible, negligently, intentionally or in some manner, including within the ambit
28   of the operation of a conspiracy, a fraudulent and criminal scheme and for the acts, facts, events,


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 1   representations and happenings hereinafter referred to, and caused injuries and damages
 2   proximately thereby to plaintiffs, as herein alleged, either through said defendants’ own
 3   intentional, negligent, fraudulent or other complicit conduct or through the conduct of their
 4   agents, servants or employees, or in some other manner, including ratification.
 5          17.    Plaintiffs are informed and believe, and thereupon allege, that at all times stated
 6   herein defendants, and each of them, were the agents, servants, employees, alter egos, joint
 7   venturers and/or conspirators of and with their co-defendants and were as such acting within the
 8   scope, course and authority of such agency, employment, joint venture and/or conspiracy, and that
 9   each and every defendant, as aforesaid, when acting as a principal, was negligent in the selection
10   and hiring of each and every other defendant as agent, servant, employee and/or joint venturer,
11   including within the ambit of the operation of a conspiracy.
12                                     GENERAL BACKGROUND
13          18.    The Schwartz Foundation finds its’ roots in the Charles P. and Lavinia Schwartz
14   Citizenship Education Project at the University of Chicago founded in the 1960’s to study and assist
15   various immigration and ethnic groups, including indigenous peoples, gaining entry into American
16   society as productive citizens. As an 1893 émigré to the United States from Vilnius, Lithuania,
17   Charles P. Schwartz graduated from the University of Chicago and its law school in 1906-1907.
18   Charles and his wife Lavinia lived a vibrant life in the Hyde Park area of Chicago where Charles
19   served as personal attorney for Jane Addams (and her partner Julia Lathrop) as well as serving as
20   Legal Counsel for the Hull House. Together Jane Addams and Charles Schwartz fought to get
21   children out of the mills, and into schools (Kindergartens) while helping establish the first juvenile
22   court in Chicago, likely the first juvenile court outside of New York. Addams worked with the
23   Women’s Peace Conference at the Hague. When Jane Addams won the Nobel Peace Prize in 1931
24   she came back to Chicago and gave the Medal to Charles P. Schwartz stating: “You have it, you
25   are the one who earned it.” Specializing in the law of civil liberties and equality rights, they formed
26   a Constitutional study group at Clarence Darrow’s apartment with Roger Baldwin. That
27   Constitutional study group became the American Civil Liberties Union (“ACLU”). As such, the
28   family paternal grandfather is a co-founder of the ACLU.


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 1          19.    Charles P. Schwartz’s youngest son, Charles P. Schwartz, Jr., graduated first in his
 2   class at Harvard Law School and went on to a successful career as President/Chairman of the Board
 3   for the Champion Parts Rebuilders. The eldest son, Robert A. D. Schwartz (“Bob”) graduated from
 4   the University of Chicago Lab School at 16 years old, then the Massachusetts Institute of
 5   Technology at 19 years old with a Bachelor of Science degree in Electrical Engineering. Having
 6   worked on the Manhattan Project at Oak Ridge, Tennessee, he was shocked at the Jim Crow
 7   American South and vowed to spend his life correcting this American outrage.
 8          20.    Bob Schwartz went on to become the Chair, Democratic Party, Northern California
 9   where he worked with the Honorable Willie L. Brown, Jr. and Congressman Ronald V. Dellums to
10   provide jobs training, with good paying union jobs and careers equally throughout Northern
11   California’s Bay Area.
12          21.    In 1975, Bob’s then youngest son, plaintiff Donald Charles Schwartz went to
13   Washington, D.C. as a Congressional Intern for Congressman Ronald V. Dellums where together
14   with the Congressional Black Caucus furthered the tireless work of a then seeming impossible task
15   of ending apartheid in South Africa. In the California state Assembly, plaintiff Willie L. Brown, Jr.
16   began this same work towards that same achievement. Together, they passed the Comprehensive
17   Anti-Apartheid Act of 1986, which did end apartheid in South Africa, freed Nelson Mandela from
18   the Robbin Island Prison (and dismantled a nuclear arsenal).
19          22.    In 1979, Bob Schwartz and plaintiff Donald Charles Schwartz founded the
20   “Schwartz Foundation” with Bob’s then law partner Thom Picarello. In 1983, Bob Schwartz and
21   plaintiff Donald Charles Schwartz replaced Thom Picarello with plaintiff Michael L. Osterberg,
22   Bob’s nephew from his second wife (plaintiff, Donald Charles Schwartz’s cousin). Plaintiffs
23   Donald Charles Schwartz and Michael L. Osterberg worked closely with Bob Schwartz in his
24   business and real estate affairs as well as his philanthropic activities over the decades.
25          23.    Plaintiff Donald Charles Schwartz went on to earn a Masters in Business
26   Administration (M.B.A.) in Finance and Investments (George Washington University) as well as a
27   Juris Doctorate (J.D.) Georgetown University Law Center. While serving as a Senior Financial
28   Analyst on Staff of the Assistant Attorney General in Charge of the Antitrust Division, United


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 1   States Department of Justice, Washington, D.C., plaintiff Donald Charles Schwartz continued to
 2   work with Congressman Dellums and the Congressional Black Caucus towards ending apartheid
 3   in South Africa.
 4          24.    Finally, in 1986 Speaker of the State Assembly, plaintiff Willie L. Brown, Jr.
 5   accomplished a crowning lifetime achievement by spearheading the passage of legislation divesting
 6   the State of California’s investments from South Africa. Three months later, The United States
 7   Congress passed the Comprehensive Anti-Apartheid Act of 1986 by a two-thirds Senate override
 8   of a President Roanld Reagan Veto. Nelson Mandela would then be released from the Robbin Island
 9   Prison and the apartheid system of South Africa would collapse. The Honorable Ronald V Dellums
10   32-year District Manager Don Hopkins, would later testify that “Don Schwartz was critical to the
11   passage of the Anti-Apartheid Act of 1986.” More important was the work of plaintiff Willie L.
12   Brown, Jr. in leading the way. During a World Peace Day at the Oakland Coliseum, Nelson
13   Mandela came across the stage and hugged both Ron Dellums and plaintiff Willie L. Brown in
14   appreciation for what they had done half-way around the globe.
15          25.    Meanwhile, plaintiff Donald Charles Schwartz would leave the United States
16   Department of Justice to return to California to work with his father, Bob Schwartz, as his attorney
17   and personal advisor, which professional relationship endured for more than 40 years – while
18   continuing to serve as a founding Board Member of plaintiff Schwartz Foundation with Bob
19   Schwartz and new duly elected Board Member plaintiff Michael L. Osterberg.
20          26.    While Bob Schwartz served in the California Democratic party, the National
21   Democratic Party was burglarized at the Watergate Complex in Washington, D.C. Bob Schwartz
22   became infuriated and proclaimed that while these national politicians “went to the best law
23   schools, but they had no moral compass . . . what good is an education?” Following in the footsteps
24   of his father in seeking to teach ethics and morals (i.e., “good citizenship”) to our nation’s youth,
25   together with plaintiffs Donald Charles Schwartz and Michael L. Osterberg, began promoting the
26   concept of “peer teaching and tutoring” in the public schools. Along with plaintiff Donald Charles
27   Schwartz, the Oakland Public Schools were approached. Finding a willing ear in Superintendent of
28   Public Schools Marcus Foster, the Schwartz Foundation went on to promote Peer Teaching in the


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 1   Oakland Public Schools, then the Cook County Public School in Illinois and the rest of the nation.
 2          27.    Meanwhile, a certain Debbra Wood began work as a maid for Bob Schwartz’ infirm
 3   mother and began her (Wood’s) elder abuse tactics by maneuvering herself into the Schwartz family
 4   and gaining an introduction to Bob Schwartz. At the time, Bob Schwartz was still considering his
 5   relationship with his second wife, but Ms. Wood forced her way into Bob’s life. The relationship
 6   of Bob Schwartz and Debbra Wood was marred by a series of fights and break-ups whereby Ms.
 7   Wood instituted a campaign of threats and intimidation against Bob Schwartz. At one point she
 8   beat him up, sending him to the hospital with a swollen face and black eye. Another time Ms. Wood
 9   stole Bob Schwartz’ coin collection (later valued at $500,000) returning it only after intervention
10   of the Oakland Police Department. Miss Wood then became pregnant with defendant Margot Wood
11   Schwartz and forced Bob Schwartz to marry. At 20-years his junior, the new Mrs. Wood Schwartz
12   continued her intimidation and elder abuse against Bob Schwartz thereby forcing him to transfer
13   assets to her control or put him into an embarrassing third divorce as a 70, 80 and later, 90-year-old
14   man.
15                                     GENERAL ALLEGATIONS
16          28.    Throughout his new wife’s campaign to gain control of Bob’s significant assets, he
17   (Bob) kept his Robert A.D. Schwartz trust document secretive and carefully kept it in his office
18   located at his KeySource International keyboard assembly plant in Oakland, where the new Mrs.
19   Schwartz had no access to it. Trying to keep peace the new Mrs. Schwartz while dealing with her
20   avaricious greed, Bob, and plaintiff Donald Charles Schwartz and Michael Osterberg agreed that
21   Debbra and her daughter (defendant) Margot Wood Schwartz would serve as officers of the
22   Schwartz Foundation. At no time were Debbra Wood Schwartz or her daughter defendant
23   Margot Wood Schwartz ever legally voted on to the Board of Directors of the Schwartz
24   Foundation – not ever!
25          29.    At all times from the inception of the Schwartz Foundation to the present time,
26   plaintiff Donald Charles Schwartz has served as a founding Member of the Board of the Schwartz
27   Foundation. Similarly, at all times, from being voted onto the Board of Directors of the Schwartz
28   Foundation in 1983 to the present time, plaintiff Michael L. Osterberg has been a duly authorized


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 1   Member of the Board of Directors of the Schwartz Foundation.
 2             30.    An athlete his entire life and lifelong swimmer into his 90s, Bob Schwartz was
 3   swimming one mile/day. (He often swam with plaintiff Michael L. Osterberg). At one point Bob
 4   considered training for an age group world record. After Bob Schwartz suffered a stroke in 2017,
 5   it was clear that Bob was very much alive, had mental capacity and was responding to
 6   conversations. While anxiously awaiting to gain control of Bob’s considerable assets, Debbra
 7   Wood Schwartz outrageously lied to plaintiff Donald Charles Schwartz that his father was on a life
 8   sustaining feeding tube – he was not. Instead of allowing this honorable, athletic man the
 9   opportunity to fight back and gain control of his life, Debbra Wood Schwartz forced him to wither
10   and die. Defendant Margot Wood Schwartz’ mother, Debbra Wood Schwartz, then put into motion
11   a secretive campaign to fraudulently manipulate Bob Schwartz’s estate.
12             31.    First, she snuck into Bob’s office at KeySource International and walked off with
13   several boxes of his papers, including his trust instrument and a holographic ‘letter from the grave.’
14   The original trust document has never surfaced and its whereabouts is unknown. The ‘letter from
15   the grave’ has also never been produced.
16             32.    A friend of Bob Schwartz was a local Oakland attorney David Ira Kelvin. A 40-year
17   journeyman of the Alameda County Criminal Court system, Mr. Kelvin could be seen slovenly
18   walking around with his loosened tie draping over his shoulder. Mr. Kelvin had become jaded and
19   hated being an attorney. At one point he let his State Bar license lapse – only to be sucked back into
20   criminal defense work by a client who paid his Bar dues - so that Kelvin could represent him. For
21   one example, Kelvin was paid a $1,500 retainer and then spent three-months sitting in a summer
22   long murder trial. Of course, with no budget, no inspiration and no way off his cases, Kelvin’s
23   clients were often convicted. After the passing of Bob Schwartz, Kelvin saw a friendship with
24   Debbra Wood Schwartz as a way out of the daily grind of the pits of the Alameda County criminal
25   courts.
26             33.    The Robert A. D. Schwartz Trust (“Trust”) intended that plaintiff Schwartz
27   Foundation as to sole beneficiary of the Trust. However, David Kelvin then brought in a career
28   white collar criminal (e.g., professional forger), Derek Sean Wheat, to consult with Debbra Wood


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 1   Schwartz so that the three of them could concoct their plan to forge Bob Schwartz’ signature,
 2   appointment of trustee and/or authorization for formation of a Q-Tip Trust so as to and gain control
 3   for Debra Wood Schwartz the some $80 million of assets for herself. Included in this plan, was for
 4   Debra Wood Schwartz to gain illegal control of the Schwartz Foundation. Then, the plan was to
 5   bring a motion in the Alameda County Probate Court to redirect all of the assets of the Robert A.
 6   D. Schwartz Trust to an illegally created the “Debbra Wood Schwartz Q-Tip Trust” under the
 7   auspices of the initial Bob Schwartz trust. As such, the Robert A. D. Schwartz Trust was illegally
 8   forged and modified for this purpose.
 9          34.     During the furtherance of this criminal scheme, Debbra Wood Schwartz and her co-
10   conspirator, attorney David Ira Kelvin, began living together, they confided in their plan and sought
11   counsel from career fraudster Derek Sean Wheat. Their criminal plan went awry in July 2020, while
12   in Chicago, Illinois, Debbra Wood Schwartz had a stroke in her stomach and lost her digestive
13   system (presumably from the stress of the scheme she was living under). While she was suffering
14   a slow death she was seen barking out instructions to defendant Margot Wood Schwartz as to what
15   to do to carry out the scheme. Debbra Wood Schwartz died on July 31, 2020. Three days later,
16   presumably while her mother’s body remained in the home, defendant Margot Wood Schwartz
17   continued to carry forward with the criminal hostile corporate takeover of the Schwartz Foundation
18   originally set in force by her mother, David Kelvin and Derek Wheat. On August 3, 2020 defendant
19   Margot Schwartz created a set of fraudulent and false “Board Minutes” allegedly throwing plaintiffs
20   Donald Charles Schwartz and Michael L. Osterberg off the Board of the non-profit Schwartz
21   Foundation and placing her brother defendant Noah Schwartz and herself purportedly in control on
22   the Board of Directors.
23          35.     Despite having never been elected to the Board of Directors of the Schwartz
24   Foundation and otherwise having no legal authority to call a Board Meeting of the Schwartz
25   Foundation – and without giving notice to plaintiff Donald Charles Schwartz or Michael L.
26   Osterberg – defendant Margot Wood Schwartz unlawfully began filing multiple documents with
27   the State of California Secretary of State’s Office, Department of Justice, Franchise Tax Board and
28   Internal Revenue Service claiming to have control of the Schwartz Foundation. Of course, she did


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 1   not. In truth, her actions were criminal violations of the California Penal Code (including section
 2   115) and remain so.
 3            36.     Seeing the writing on the wall that there was no future with continued loyalty to
 4   David Ira Kelvin, without Debbra Wood Schwartz, the career criminal Derek Sean Wheat started
 5   revealing the truth behind the criminal fraud scheme which he had helped orchestrate.
 6            37.     Seeing that his pathway out of the dredges of the Alameda County criminal courts
 7   had died with Debbra Wood Schwartz and that his career criminal client/paralegal was flipping,
 8   David Ira Kelvin is believed to have committed suicide and was found dead in a seedy Oakland
 9   Hotel.
10            38.     In October 2020, defendant Margot Wood Schwartz then stole all of the corporate
11   records of the plaintiff Schwartz Foundation and has not returned them.
12            39.     Then, the career criminal, Derek Sean Wheat, while in New York, suddenly died as
13   well.
14            40.     A subsequent investigation, which included a professional ‘questioned document’
15   analysis has confirmed the forgery of the Robert A. D. Schwartz Trust and the fabrication of the
16   Debbra Wood Schwartz Q-Tip Trust.
17            Hence this suit.
                                        FIRST CAUSE OF ACTION
18
                                     (Civil Racketeering (RICO) Scheme)
19
              41.     Plaintiffs by this reference incorporate each and every other paragraph set forth in
20   this Complaint as if fully set forth herein.
21            42.     As set forth above, defendants Margot Wood Schwartz and Noah Schwartz are
22   operating in a criminal conspiracy to illegally attempt their hostile corporate takeover of the Board
23   of Directors of the Schwartz Foundation and the assets and proceeds thereof.
24            43.     Acting pursuant to the racketeering enterprise, association, conspiracy, and joint
25   efforts, defendants Margot Wood Schwartz and Noah Schwartz have seized control of the banking
26   accounts and records of the Schwartz Foundation, illegally converting some one-half million
27   dollars from the Schwartz Foundation for attorneys’ fees and costs of suit.
28            44.     Defendants Margot Wood Schwartz and Noah Schwartz knowingly and intentionally


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 1   joined together with co-conspirators to steal from the Schwartz Foundation, to submit multiple
 2   false official documents to various public agencies in violation of various sections of the California
 3   Penal Code (including section 115).
 4          45.     Defendants Margot Wood Schwartz and Noah Schwartz acting in complicity with
 5   the decedents, and otherwise joining together for the purposes of operating a civil racketeering
 6   enterprise did those things as set forth above and as follows:
 7                  i)     On or about October 6, 2021, defendant Margot Schwartz, without
 8   authorization from the Board of Directors of plaintiff Schwartz Foundation entered the offices of
 9   the Schwartz Foundation and stole all of the corporate records of plaintiff Schwartz Foundation.
10   Defendants Margot Schwartz and Noah Schwartz has refused to return the records to the rightful
11   custodian.
12                  ii)    On or about October 6, 2021, defendants Margot Schwartz and Noah
13   Schwartz caused to be filed an unauthorized ‘Statement of Information’ with the Secretary of State,
14   State of California illegally naming herself as the ‘Chief Executive Officer’ of the Schwartz
15   Foundation in violation of the California Penal Code (including section 115). Defendants Margot
16   Schwartz and Noah Schwartz also illegally caused defendant Noah Schwartz to be named as
17   ‘Secretary’ of the Schwartz Foundation. In truth, neither Margot Schwartz or Noah Schwartz have
18   ever been so appointed by any duly authorized members of the Board of Directors of the Schwartz
19   Foundation. A true and correct copy of the illegal ‘Statement of Information’ is attached hereto as
20   Exhibit 3.
21                  iii)   On or about July 15, 2021, defendants Margot Schwartz and Noah Schwartz
22   filed an unauthorized ‘Annual Registration Renewal Fee Report to Attorney General of California'
23   in violation of the California Penal Code (including section 115) where said defendants falsely
24   name defendant Margot Schwartz as the “President” of plaintiff Schwartz Foundation. A true and
25   correct copy of the illegal ‘Statement of Information’ is attached hereto as Exhibit 4.
26                  iv)    On or about October 4, 2022, defendants Margot Schwartz and Noah
27   Schwartz filed an unauthorized ‘Annual Registration Renewal Fee Report to Attorney General of
28   California' in violation of the Penal Code (including section 115) where said defendants falsely


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 1   name defendant Margot Schwartz s the “President” of plaintiff Schwartz Foundation. A true and
 2   correct copy of the illegal ‘Statement of Information’ is attached hereto as Exhibit 5.
 3                  v)      On or about October 4, 2022, defendants Margot Schwartz and Noah
 4   Schwartz filed an unauthorized ‘Annual Registration Renewal Fee Report to Attorney General of
 5   California' in violation of the Penal Code (including section 115) where said defendants falsely
 6   name defendant Margot Schwartz as the “President” of plaintiff Schwartz Foundation. A true and
 7   correct copy of the illegal ‘Statement of Information’ is attached hereto as Exhibit 6.
 8                  vi)     For tax years 2020, 2021 and 2023, defendants Margot Schwartz and Noah
 9   Schwartz caused to be filed unauthorized tax returns with the United States Internal Revenue
10   Service, of the United States and Franchise Tax Board, State of California in multiple violations of
11   the Penal Code (including section 115).
12          46.     In carrying out the scheme to defraud, defendants Margot Wood Schwartz engaged,
13   inter alia in conduct in violation of federal laws, to wit:
14          47.     Unlawful dealings in violation of 18 U.S.C. 1349, 18 U.S.C. Sections 1961, 1962
15   and their sub-parts.
16          48.     Mail fraud in violation of 18 U.S.C. Section 1341.
17          49.     Wire fraud in violation of 18 U.S.C. Section 1343.
18          50.     Instead of acting fairly, honestly, reasonably, and as required by statute and
19   administrative regulations, each said defendant, pursuant to a promise of and expectation of
20   economic gain and benefits, used false, fraudulent, dishonest, and corrupt pretenses and
21   representations, calculated to deceive persons of reasonable prudence and care, made material
22   misrepresentations of relevant facts, did those acts, facts and events as set forth above.
23          51.     The above acts were carried out unlawfully, intentionally, willfully, and with the
24   intent to pervert and corrupt and obstruct justice, defraud plaintiffs, all while having knowledge or
25   having reason to know that such actions would cause damage and injury to plaintiffs.
26          52.     Said acts were undertaken and knowingly allowed for the purpose of financial gain
27   and the expectation of financial advantage to the benefit of co-conspirators, and defendants, and
28   each of them. As a result of said actions, plaintiffs suffered discrete losses of a significant nature,


                                                                                                          13
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 1   including loss of fair and reasonable salary as well as control of the Schwartz Foundation – all in
 2   the public interest.
 3          53.     During the relevant times, and in furtherance of and for the purpose of carrying out
 4   the unlawful scheme, and to assist the co-conspirators in their unlawful endeavors, defendants, and
 5   each of them, used, caused to be used, and participated in the use of mail depositories of the United
 6   States Postal Service and wrongfully drew, uttered, tendered, and participated in the drawing,
 7   uttering and tendering of cash and instruments of credit for the purposes of paying for the illegal
 8   funds to themselves or others.
 9          54.     During the relevant times, and in furtherance of and for the purpose of carrying out
10   the unlawful scheme, and to assist the co-conspirators in their unlawful endeavors, defendants, and
11   each of them, used, caused to be used, and participated in the use of wire communications regulated
12   as a part of interstate commerce, by both making and causing to be made telephone calls, emails,
13   telegrams, and fax communications.
14          55.     The aforesaid complicit conduct of defendants Margot Wood Schwartz and Noah
15   Schwartz and their co-conspirators, and each and every defendant, constitute, inter alia, a pattern
16   of common law fraud and included and specified in the United States Code.
17          56.     As a direct and proximate result of the violations of statutes and regulations and as a
18   direct and proximate result of the actions of defendants, and each of them, and violations of RICO,
19   the complainant has been damaged as heretofore pled.
20          Wherefore, plaintiffs seek judgment against defendant, and each of them, as set forth below.
21
                                      SECOND CAUSE OF ACTION
22                                        For An Accounting
23          57.     Plaintiffs by this reference incorporates paragraphs 1 through 50, inclusive, set forth
24   in this Complaint for Equitable Relief and Damages as if fully set forth and re-alleged herein.
25          58.     Plaintiffs seek an accounting of all funds and assets of the Schwartz Foundation, all
26   banking, checking, escrow and other accounts in any way related to the Schwartz Foundation.

27            WHEREFORE, plaintiffs pray judgment against defendants, and each of them, as further

28   set forth below.


                                                                                                         14
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 1                                     THIRD CAUSE OF ACTION
 2                                       For Declaratory Relief

 3
            59.     Plaintiffs by this reference incorporates paragraphs 1 through 58, inclusive, set forth
     in this Complaint for Equitable Relief and Damages as if fully set forth and re-alleged herein.
 4
            60.     An actual controversy exists between plaintiffs, on the one hand, and defendants
 5
     Margot Wood Schwartz and Noah Schwartz, on the other hand.
 6
            61.     Plaintiffs seek an order of this honorable Court declaring the rights and
 7
     responsibilities of plaintiffs, on the one hand, and each and every defendant, on the other hand.
 8
            WHEREFORE, complainants pray judgment against defendants, and each of them, as
 9
     follows:
10
            [1]     For general damages, mental distress, pain, suffering and other emotional distress,
11
     in the amount of $100.0 million or as according to proof;
12
            [2]     For special damages, including lost income, profits, assets and the like in the
13
     amount of $100.0 million or as according to proof;
14
            [3]     For punitive and exemplary damages in a sufficient amount to deter each and every
15
     defendant from acting in such a capricious, malicious, arbitrary, fraudulent and conspiratorial
16
     manner ever again and to make a proper example of said defendants, estimated as ten times
17
     actual damages;
18
            [4]     That the Court declare defendants violated applicable provisions of law;
19
            [5]     For such temporary, preliminary and/or permanent injunctions sufficient to cause
20
     each and every defendant, as well as their partners, agents, employees, assignees, and all persons
21
     acting in concert or participating with therewith, to cease and desist the illegal, unfair and/or
22
     fraudulent business practices as alleged hereinabove;
23
            [6]     For pre-judgment interest from the time of the illegal scheme and other duties to
24
     the time of trial and/or otherwise as according to proof;
25
            [7]     For restitution and disgorgement of any and all financial benefit derived from the
26
     operation of a scheme in violation of the civil RICO statutes, et seq.;
27
            [8]     For trebling of damages under the civil RICO statutes;
28


                                                                                                         15
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 1         [9]     For attorneys’ fees and all costs, including costs of suit, according to proof;
 2         [10]    For such other and further relief as the court deems just and proper.
 3
     Date: July 11, 2024              /s/ Donald Charles Schwartz
 4                                      ____________________
 5
                                        Donald Charles Schwartz
                                          Attorney for Plaintiffs
 6                           Schwartz Foundation, Donald Charles Schwartz
                               Michael L. Osterberg, Willie L. Brown, Jr.,
 7
                             Charles P. Schwartz, III, Paul Schwartz, David
 8                                              Schwartz
 9
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                     EXHIBIT 3
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;N
                                                                                    ANNUAL
MAIL TO:

Registry of Charitable Trusts
                                                   REGISTRATION RENEWAL FEE REPORT
                                                                                                                                                                liberty
P.O. Box 903447
                                                 TO ATTORNEY GENERAL OF CALIFORNIA                                                                              and Justme
                                                                                                                                                                under law
Sacramento, CA 94203-4470
                                                        Section 12586 and 12587, California Government Code
(916) 210-6400
                                                            11 Cal. Code Regs. section 301-307, 311, and 312

WEB SITE ADDRESS:                              Failure to submit this report annually no later than the 15th day of the 5th month after the
                                                                                                                                                  h
                                                end of the organization's accounting period may result in the loss of tax exemption and
www.ag.ca.gov/charities/
                                                the assessment of a minimum tax of $800, plus interest, and/or fines or filing penalties
                                                   as defined in Government Code section 12586.1. IRS extensions will be honored.


                                                                                                          Check if:

                                                                                                                                                 MAR 1 8 2020
State Charity Registration Number 039637                                                                  Change of address
                                                                                                         U Amended report               Regist,y of©haf#able Dusts
SCHWARTZ FOUNDATION
Name of Organization


 14665 WASHINGTON AVENUE #26                                                                             Corporate or Organization No            0967388
Address (Number and Street)



SAN LEANDRO, CA 94578                                                                                    Federal Employer I D. No.            XX-XXXXXXX
City or Town, State and ZIP Code

                                  ANNUAL REGISTRATION RENEWAL FEE SCHEDULE (11 Cal. Code Regs. sections 301-307, 311, and 312)
                                            Make Check Payable to Attorney General's Registry of Charitable Trusts

Gross Annual-Revenue                               Fee Gross Annual Revenue                                         ERe       Gross Annual Revenue                                Eve


 Less than $25,000                                      0 Between $100,001 and $250,000                               $50 Between $1,000,001 and $10 mi lion
 Between $25,000 and $100,000                       $25 Between $250,001 and $1 million                               $75     Between $10,000,001 and $50 million $225
                                                                                                                              Greater than $50 million                        $300

 PART A - ACTIVITIES


          For your most recent full accounting period (beginning                         1/01/19                ending          12/31/19 ) lid!:

          Gross annual revenue $                                    7,680. 0 Total assets $                                       362,955.

 PART B - STATEMENTS REGARDING ORGANIZATION DURING THE PERIOD OF THIS REPORT

 Note:           If you answer yes" to any of the questions below, you must attach a separate page providing an explanation and details for each
                yes response. Please review RRF-1 instructions for information required.
                                                                                                                                                                            Yes     No

     1 During this reporting period, were there any contracts, loans, leases or other financial transactions between the
          organization and any officer, director or trustee thereof either directly or with an entity in which any such officer,
          director or trustee had any financial interest?

     2 During this reporting period, were there any theft, embezzlement, diversion or misuse of the organization's charitable
                                                                                                                                                                            n®
          property or funds?



     3 During this reporting period, did non-program expenditures exceed 50% of gross revenue?

     4 During this reporting period, were any organization funds used to pay any penalty, fine or judgment? If you filed a
          Form 4720 with the Internal Revenue Service, attach a copy.

     5 During this reporting period, were the services of a commercial fundraiser or fundraising counsel for charitable
          purposes used? If "yes," provide an attachment listing the name, address, and telephone number of the                                                             O®
          service provider.

     6 During this reporting period, did the organization receive any governmental funding? If so, provide an attachment listing
          the name of the agency, mailing address, contact person, and telephone number.

     7 During this reporting period, did the organization hold a raffle for charitable purposes? If "yes," provide an attachment
          indicating the number of raffles and the date(s) they occurred.

     8 Does the organization conduct a vehicle donation program? If "yes," provide an attachment indicating whether
        the program is operated by the charity or whether the organization contracts with a commercial fundraiser for
          charitable purposes.

     9 Did your organization have prepared an audited financial statement in accordance with generally accepted accounting
                                                                                                                                                                            0®
          principles for this reporting period?

Organization's area code and telephone number 510-638-8764

Organization's e-mail address


 I declare under penalty of perjury that I have examined this report, including accompanying documents, and to the best of my knowledge
 a nd belief, the content is true, corieetin d complete.




                                                     DEBBRA WOOD SCHWARTZ                                PRESIDENT/CFO                             3 - /7-- 2 0
     ignature of authorized officer                  Printed Name                                       Title                                            Date



                                                                                 CAEA9801 L11 /20/18                                                              RRF-1 (0°


                                                      Jf<
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                                                                                                                                                                     OMB No 1545-0047

 Form 990-PF                                                                         Return of Private Foundation
                                                             or Section 4947(aX1) Trust Treated as Private Foundation                                                   2019
                                                       • Do not enter social security numbers on this form as it may be made public.
 Department of the Treasury
                                                             Go to www.irs.gov/Form990PF lor             instructions and the latest information.
 Internal Revenue Service •                                                                                                                                     Open to Public Inspection

 For calendar year 2019 or tax year beginning , 2019, and ending ,
                                                                                                                                   A Employer identification number
 SCHWARTZ FOUNDATION                                                                                                                        XX-XXXXXXX
                                                                                                                                   B Telephone number (see instructions)
 14665 WASHINGTON AVENUE #26
                                                                                                                                            510-638-8764
 SAN LEANDRO, CA 94578

                                                                                                                                   C If exemption application is pending, check here . • [
 G Check all that apply:                             Initial return                    Initial return of a former public charity
                                                     Final return                      Amended return
                                                                                                                                   D 1 Foreign organizations, check here ...
                                                X Address change                       Name change                                     2 Foreign organizations meeting the 85% test, check
                                                - - here and attach computation.
 H Check type of organization:                 ® Section 501(c)(3) exempt private foundation
        n Section 4947(a)(1) nonexempt charitable trust n Other taxable private foundation E If private foundation status was terminated
                                                                                                       under section 507(b)(1)(A), check here .., •
 1 Fair market value of all assets at end of year     J Accounting method: ®Cash []Accrual
       (from Part Il, column (c), line 16)
                                                                                     I Other (specify) ___                          F If the foundation is in a 60-month termination
     .$ 284,373.                                                              (Part 1, column (d), m-ust-b@ Encish blgs-5                   under section 507(b)(1)(B), check here .,,. ,•
 Part Analysis of Revenue and                                                                                                                                         (d) Disbursements
                                                                                        (a) Revenue and        (b) Net investment            (c) Adjusted net
                  Expenses (The total of amounts in                                                                   income
                                                                                                                                                                         for charitable

                  columns (b), (c), and (d) may not                                    expenses per books                                         income
                                                                                                                                                                            purposes
-- - necessarily pri' 121 th, amnlintq in _                                                                                                                            (cash basis only)
                  column (a) (see instructions).)
                  1 Contributions, gifts, grants, etc, received (attach schedule).                 1,400.
                  2 Check • if the foundation is not required to attach Sch B
                  3 Interest on savings and temporary cash investments                                220.                      220.                       220.
                  4 Dividends and interest from securities.......                                  6,060.                   6,060.                     6,060.
                  5 a Gross rents..,...
                    b Net rental income
                        or (loss)

                  6 a Net gain or (loss) from sale of assets not on line 10
                    b Gross sales price for all



    Rev nue
                        assets on line 6a...
                                                                                                                                                    1,1.11 :,ic·U ,rl.-16'18;:7'3
                  7 Capital gain net income (from Part IV, line 2)
                  8 Net short-term capital gain,,,


                                                                                                                                                        MAR 18 2020
                  9 Income modifications.

              1   0 a Gross sales less
                        returns and

                        allowances... 1
                    b Less Cost of
                        goods sold
                    c Gross profit or (loss) (attach schedule)

              11        Other income (attach schedule) .



              12 Total. Add lines 1 through 11 .... .                                              7,680.                   6,280.                     6,280.
              13 Compensation of officers, directors, trustees, etc 0.
              14 Other employee salaries and wages.                                              33,000.                                                                         33,000.
              15 Pension plans, employee benefds . . . . .

              16 a Legal fees (attach schedule) . .
                     b Accounting fees (attach sch)               SEE..ST 1                           875.                                                                              875.
    Ul
                     c Other professional fees (attach sch).

              17 Interest ,,,,,,

              18 Taxes (attach scheduleXsee instrs) .            SEE STM 2                                                                                                         1,905.
                                                                                                   1,905.
              19 Depreciation (attach
    '2 schedule) and depiction
     E 20               Occupancy                           ..

              21 Travel, conferences, and meetings

              22 Printing and publications .....

              23 Other expenses (attach schedule)
                                               SEE STATEMENT 3                                   32,076.                                                                         32,076.

              24 Total operating and administrative
                        expenses. Add I ines 13 through 23 .. ..                                 67,856.                                                                          67,856.
              25 Contributions, gifts, grants paid


      26 Total expenses and disbursements.
                Add lines 24 and 25 .... ... 67,856. 0. 0. 67.856.
              27 Subtract line 26 from line 12:

                     a Excess of revenue over expenses
                        and disbursements... -60,176.
                     b Net investment income of negative, enter -0 )                                                        6,280.
                     C Adjusted net income Of negative, enter -0-).                                                                                     6,280.

 BAA For Paperwork Reduction Act Notice, see instructions.                                                            TEEA0301 L 08/22/19                              Form 990-PF (2019)
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rorm 990-PF (2019) SCHWARTZ FOUNDATION                                                                                      XX-XXXXXXX              Page 2

                                     Attached schedules and amounts in the description     Beginning of year                   End of year
Part 11 Balance Sheets               column should be for end-of-year amounts only
                                      (See instructions )                                   (a) Book Value         (b) Book Value    (c) Fair Market Value

       1 Cash - non-interest-bearing .

       2 Savings and temporary cash investments ,. 215,287 .                                                            155,110.

       3 Accounts receivable

           Less: allowance for doubtful accounts -

       4 Pledges receivable,,, i
                                                                      --------


           Less- allowance for doubtful accounts -
                                                             --i---------


       5 Grants receivable .

       6 Receivables due from officers, directors, trustees, and other
           disqualified persons (attach schedule) (see instructions) .
       7 Other notes and loans receivable (attach sell) • =
                                                                    ---------


           Less: allowance for doubtful accounts
                                                                         --------


       8 Inventories for sale or use ..

       9 Prepaid expenses and deferred charges
      10 a Investments - U.S. and state government
          obligations (attach schedule)

         b Investments - corporate stock (attach schedule) . 89,389.                                                    207,845.              284,373.
         c Investments - corporate bonds (attach schedule)
      11 Investments - land, buiklings, and
          equipment: basis
                                                              -----------



           Less: accumulated depreciation
           (attach schedule) .
                                                                1---------


      12 Investments - mortgage loans,....

      13 Investments - other (attach schedule).. 118,454.
      14 Land, buildings, and equipment: basis •
           Less: accumulated depreciation
           (attach schedule) .
      15 Other assets (describe - ) 1.
      16 Total assets (to be compl@tid-by allliteli Z
           see the instructions. Also, see page 1, item I) . .                                    423,131.               362,955.             284,373.

       17 Accounts payable and accrued expenses...
       18 Grants payable......,,,,...
       19      Deferred                     revenue                 .,,,,

      20 Loans from officers, directors, trustees, & other disqualified persons...
      21 Mortgages and other notes payable (attach schedule) .
       22 Other habilities (describe• )

       23 Total liabilities (add lines 17 through 22) .. , .. 0. 0.

           Foundations that follow FASB ASC 958, check here -
           and complete lines 24,25,29, and 30.

       24 Net assets without donor restrictions . .. 423,131 .                                                           362,955.


 25 Net assets with donor restrictions .
 2 Foundations that do not follow FASB ASC 958, check here []
 16
           and complete lines 26 through 30.
 b
       26 Capital stock, trust principal, or current funds .
  27 Paid-in or capital surplus, or land, bldg., and equipment fund ...
 28 Retained earnings, accumulated income, endowment, or other funds , ,
                                                                                                  423,131.               362,955.
 29 Total net assets or fund balances (see instructions).
       30 Total liabilities and net assets/fund balances
           (see instructions)..... .. . . . 423,131.                                                                     362,955.

Part 111 Analysis of Changes in Net Assets or Fund Balances
 1 Total net assets or fund balances at beginning of year - Part 11, column (a), line 29 (must agree with
    end-of-year figure reported on prior year's return) .. . . 1                                                                              423,131.

      Enter amount from Partl, line 27a . .... . 2 -60, 176.
      Other increases not included in line 2 (itemize) - 3
                                                                                                               ---------


      Add                 lines                     1,2,                 and              3...         .     ...     4     362,955.
      Decreases not included in line 2 (itemize) • 5
                                                                                         -------------------



      Total net assets or fund balances at end of year Cline 4 minus line 5) - Part 11, column (b), line 29 . 6 362,955.
                                                                             TEEA0302L 08/22/19                                         Form 990-PF (2019)
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Form 990-PF (2019) SCHWARTZ FOUNDATION                                                                                             XX-XXXXXXX                          Page 3

Part IV Capital Gains and Losses for Tax on Investment Income
                  (a) List and describe the kind(s) of property sold (for example, real estate,                  (b) How acquired (C) Date acquired         (d) Date sold
                                                                                                                  P - Purchase          (mo, day, yr )      (mo, day, yr )
                        2-story brick warehouse; or common stock, 200 shs. MLC Co.)                                D - Donation



 1 a N/A
   b

   C


   d

   e


                                               0 Depreciation allowed                    (g) Cost or other basis                          (h) Gain or (loss)
         (e) Gross sales price
                                                    (or allowable)                        plus expense of sale                         ((e) plus (f) minus (g))

   a


   b

   C


   d

   e


       Complete only for assets showing gain in column (h) and owned by the foundation on 1 2/31/69.                                      (1) Gains (Col. (h)

                                                                                       (10 Excess of col (i)                       gain minus col. (k), but not less
         0) FMV as of 12/31/69                    0) AdJusted basis
                                                    as of 12/31/69                       over col. 0), if any                     than -0-) or Losses (from col. (h))


   a


   b


   C


   d

   e



                                                                Elf gain, also enter in Part 1, line 7 -2
  2 Capital gain net income or (net capital loss). . ---4
                                                                _lf (loss), enter -0- In Part 1, line 7 2
  3 Net short-term capital gain or (loss) as defined in sections 1222(5) and (6)·

       in Part 1, line 8 ...... .... ,. .. - 3
       If gain, also enter in Part 1, line 8, column (c) See instructions. If (loss), enter -0-

Part V        Qualification Under Section 4940(e) for Reduced Tax on Net Investment Income
(For optional use by domestic private foundations subject to the section 4940(a) tax on net investment income.)

If section 4940(d)(2) applies, leave this part blank.

Was the foundation liable for the section 4942 tax on the distributable amount of any year in the base period?                                El Yes            ® No
If 'Yes,' the foundation doesn't qualify under section 4940(e). Do not complete this part.
  1 Enter the appropriate amount in each column for each year; see the instructions before making any entries.
                   (a)                             (b)                              (c)                                (d)
           Base period years                                                                  Net value of                                 Distribution ratio
                                          Adjusted qualifying distributions
       Calendar year (or tax year                                                     noncharitable-use assets                      (col. (b) divided by col. (c))
             beginning tri)

                  2018                                             81,647.
                  2017                                             79,393.
                  2016                                           106,162.
                  2015                                           103,651.
                  2014                                             44,180.


  2 Total of line 1, column 01) . ... .. . 2
  3 Average distribution ratio for the 5-year base period - divide the total on line 2 by 5.0, or by the
     number of years the foundation has been in existence if less than 5 years . . . 3

  4 Enter the net value of noncharitable-use assets for 2019 from Part X, line 5 . .. 4


  5 Multiply line 4 by line 3 .. ... . . 5

  6 Enter 1 % of net investment income (1% of Part l, line 27b) . .... 6 63.

  7       Add             lines              5     and             6      ....       .    ..      ....       .    ...      7                                             63.



  8 Enter qualifying distributions from Part XII, line 4 ... ... . . 8 67,856.
        If line 8is equal to or greater than line 7, check the box in Part VI, line lb, and complete that part using a1% tax rate. See the
        Part VI instructions.

BAA                                                                    TEEA0303L 08/22/19                                                           Form 990-PF (2019)
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 Part VI          Excise Tax Based on Investment Income (Section 4940(a), 4940(b), 4940(e), or 4948 - see instructions)
  1 a Exempt operating foundations described in section 4940(d)(2), check here             L and enter 'N/A' on line 1. -
       Date of ruling or determination letter:                      (attach copy of letter if necessary - see instructions)
    b Domestic foundations that meet the section 4940(e) requirements in Part V, -.                                                       1                   63.

       check here. • and enter 1 % of Part I, line 27b
    c All other domestic foundations enter 2% of line 27b. Exempt foreign organizations enter 4% of Part l, line 12, col. (b)

  2 Tax under section 511 (domestic section 4947(a)(1) trusts and taxable
       foundations only, others, enter -0-) .,.. . 2 0.
  3 Add lines 1 and 2 . . 3 63.
  4 Subtitle A (income) tax (domestic section 4947(a)(1) trusts and taxable foundations only; others, enter -0-) 4 0
  5 Tax based on investment income. Subtract line 4 from line 3. If zero or less, enter -0- . .                                            5                  63.

  6 Credits/Payments:

    a 2019 estimated tax pymts and 2018 overpayment credited to 2019                                             6a

    b Exempt foreign organizations - tax withheld at source... .. . 6b
    c Tax paid with application for extension of time to file (Form 8868) ..                                     6c

    d Backup withholding erroneously withheld .. . . 6 d
  7 Total credits and payments. Add lines 6a through 6d .. ... . ... ... 7 0
  8 Enter any penalty for underpayment of estimated tax. Check here if Form 2220 is attached . 8
  9 Tax due. If the total of lines 5 and 8 is more than line 7, enter amount owed ., , , , , - 9                                                              63.

                                                                                                                                          10
NverpaymefifilftirlE715-florattrdii Uie luldl u[ Imes 5 dind 8;-enter the-amotintove,paid=.- - . -. -- -
 11 Enter the amount of line 10 to be: Credited to 2020 estimated tax                                                  Refunded -         11


 Part VII=A Statements Regarding Activities
                                                                                                                                                        Yes    No
  1 a During the tax year, did the foundation attempt to Influence any national, state, or local legislation or did it
       participate or intervene in any political campaign? .. .. ... .. ... . la X

    b Did it spepd more than $100 during the year (either directly or indirectly) for political purposes?
       See the instructions for the definition .. . .... · 1 b X

       If the answer is 'Yes' to la or lb, attach a detailed description of the activities and copies of any materials published
       or distributed by the foundation in connection with the activities.
    c Did the foundation file Form 1120-POL for this year?. ...                                                                                     1 c X

    d Enter the amount (if any) of tax on political expenditures (section 4955) imposed during the year:
      Cl) On the foundation • $                               0. (2) On foundation managers • $                                                0.

    e Enter the reimbursement Of any) paid by the foundation during the year for political expenditure tax imposed on
       foundation managers *$ 0.
  2 Has the foundation engaged in any activities that have not previously been reported to the IRS?                                                 2      X

       If 'Yes,' attach a detailed description of the activities.

  3 Has the foundation made any changes, not previously reported to the IRS, in its governing instrument, articles
     of incorporation, or bylaws, or other similar instruments? If 'Yes,' attach a conformed copy of the changes , .                                           X

  4 a Did the foundation have unrelated business gross income of $1,000 or more during the year? ... 4a X
   b If 'Yes,' has it filed a tax return on Form 990-T for this year? .. . .. . 4 b                            N/A

  5 Was there a liquidation, termination, dissolution, or substantial contraction during the year?.. . .. . ... 5 X
       If 'Yes,' attach the statement required by General Instruction T.
  6 Are the requirements of section 508(e) (relating to sections 4941 through 4945) satisfied either:
       • By language in the governing instrument, or

       • By state legislation that effectively amends the governing instrument so that no mandatory directions that conflict
         with the state law remain in the governing instrument? .... . . ... 6 X
   7 Did the foundation have at least $5,000 in assets at any time during the year? If 'Yes; complete Part 11, col (c), and Part XY. 7 X
   8 a Enter the states to which the foundation reports or with which it is registered. See instructions •
          CA

    b If the answer is 'Yes' to line 7, has the foundation furnished a copy of Form 990-PF to the Attorney General
       (or designate) of each state as required by General/nstruction G.7 If 'No,' attach explanation 8b X

   9 Is the foundation claiming status as a private operating foundation within the meaning of section 49420)(3) or 49420)(5)
       for calendar year 2019 or the tax year beginning in 2019? See the instructions for Part XIV. If 'Yes,' complete Part XIV 9 X
  10 Did any persons become substantial contributors during the tax year? If 'Yes,' attach a schedule listing their names
       and                       addresses........                                                                      ,       ···                 10        X

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Part VII-A Statements Regarding Activities lcontinued)
                                                                                                                                             Yes     No
11 At any time during the year, did the foundation, directly or indirectly, own a controlled entity
      within the meaning of section 512(b)(13)? If 'Yes, ' attach schedule. See instructions , 11 X
 12 Did the foundation make a distribution to a donor advised fund over which the foundation or a disqualified person had
      advisory privileges? If 'Yes,' attach statement. See instructions. .. . , 12 X
                                                                                                                                        13 X
 13 Did the foundation comply with the public inspection requirements for its annual returns and exemption application?
      Website address . .. . -BADEHWART-Z-F©UNPATIP.NiQ-RE                                                                          ---------




 14 The books are incare of • SCHWAETA_ E-Q.UNUATION-______ _ _ Telephone no. -51-0-r-5 62---500-0___ -
      Located at        7711 OAKPORT ST.                 OAKLAND CA                                       ZIP +44
                                                                                                                      -946-2-1 -292 6
                                                                                                                                     tox - -2- El-
                                                                      --------------


 15 Section 4947(a)713- noRdIA*tchantabfe--trusikfili66 Form 990-PF in lieu of Form 1041 - check here .
      and enter the amount of tax-exempt interest received or accrued during the year                                 . -| 15 |                     N/A
                                                                                                                                             Yes     NO
 16 At any time during calendar year 2019, did the foundation have an interest in or a signature or other authority over a
     bank, securities, or other financial account in a foreign country? . .. . .. 16 X
      See the instructions for exceptions and filing requirements for FinCEN Form 114. If 'Yes,' .
    enter the name of the foreign country • i
Part Vit-B Statements Regarding Activities for Which Form 4720 May Be Required
                                                                                                                                             Yes     NO
      File Form 4720 if any item is checked in the 'Yes' column, unless an exception applies.
  1 a During the year, did the foundation (either directly or indirectly):
      (1) Engage in the sale or exchange, or leasing of property with a disqualified person? . . .,                 glYes ® No
      (2) Borrow money from, lend moneyto,-or-otherwise extend crediftb- Coracceptltfrom) d
          disqualified person?. . .. . .                                                                              Yes   X No
                                                                                                                    I       -


                                                                                                                      Yes   X No
      (3) Furnish goods, services, or facilities to (or accept them from) a disqualified person?
                                                                                                                            X No
      (4) Pay compensation to, or pay or reimburse the expenses of, a disqualified person? . .                        Yes
                                                                                                                            -




      (5) Transfer any income or assets to a disqualified person (or make any of either available
          for the benefit or use of a disqualified person)? .... .. . E|Yes ®No
      (6) Agree to pay money or property to a government official? (Exception. Check 'No' if the
          foundation agreed to make a grant to or to employ the official for a period after termination
          of government service, if terminating within 90 days.)                                                     1 Yes ® No
    b If any answer is 'Yes' to la(1)-0), did any of the acts fail to qualify under the exceptions described in
      Regulations section 53.4941(d)-3 or in a current notice regarding disaster assistance? See instructions                           1b     N/A

      Organizations relying on a current notice regarding disaster assistance, check here ... . •03
    c Did the foundation engage in a prior year in any of the acts described in 1 a, other than excepted acts,
      that were not corrected before the first day of the tax year beginning in 2019? .. .. .. ... 1c X

  2 Taxes on failure to distribute income (section 4942) (does not apply for years the foundation was a
     private operating foundation defined in section 49420)(3) or 49420)(5)):


    a 6e)
      At theforend
                taxofyear(s)
                      tax yearbeginning
                               2019, did before
                                         the foundation
                                                 2019? have
                                                        . .... any undistributed income (Part XIII, lines 6d and ] Yes ®No
      If 'Yes,' list the years • 20 , 20 , 20                         ,20-_

    b Are there any years listed in 28 for which the foundation is not applying the provisions of section 4942(a)(2)
      (relating to incorrect valuation of assets) to the year's undistributed income? (If applying section 4942(a)(2) to
                                                                                                                                               N/A
      all years listed, answer 'No' and attach statement - see instructions.) .. , 2b
    c If the provisions of section 4942(a)(2) are being applied to any of the years listed in 23, list the years here.
        20        , 20 , 20              ,20__

  3 a Did the foundation hold more than a 2% direct or indirect interest in any business
      enterprise at any time during the year?.. . . ..... . .. .. .. . .. Yes ®No
    b If 'Yes,' did it have excess business holdings in 2019 as a result of (1) any purchase by the foundation
      or disqualified persons after May 26, 1969, (*the lapse of the 5-year period (or longer period approved
      by the Commissioner under section 4943(c)(/)) to dispose of holdings acquired by gift or bequest, or
      (3) the lapse of the 10-, 15-, or 20-year first phase holding period? (Use Form 4720, Schedule C, to
      determine if the foundation had excess business holdings in 2019.1 . .. ... · 3b                                                         N/A


  4 a Did the foundation invest during the year any amount in a manner that would Jeopardize its
      charitable                                           purposes?.                                        ..       .     .     4a           X

    b Did the foundation make any investment in a prior year (but after December 31, 1969) that could
      jeopardize its charitable purpose that had not been removed from Jeopardy before the first day of
      the tax year beginning in 2019? .                                                                                                 4b          X

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Part VII-B Statements Regarding Activities for Which Form 4720 May Be Required (continued)
  5 a During the year, did the foundation pay or incur any amount to:                                                                              Yes   No

      (1) Carry on propaganda, or otherwise attempt to influence legislation (section 4945(e))?                      Yes ® No
      (2) Influence the outcome of any specific public election (see section 4955), or to carry
          on, directly or indirectly, any voter registration drive? . I n Yes 134 No
      (3) Provide a grant to an individual for travel, study, or other similar purposes? . Yes ® No
      (4) Provide a grant to an organization other than a charitable, etc., organization described
          in section 4945(d)(4)CA)? See instructions .... . . E Yes ®No
      (5) Provide for any purpose other than religious, charitable, scientific, literary, or
          educational purposes, or for the prevention of cruelty to children or animals?.                           El Yes ® No
   b If any answer is 'Yes' to 5a(1)-0), did any of the transactions fail to qualify under the exceptions
      described in Regulations section 53.4945 or in a current notice regarding disaster assistance?
      See                instructions                                    .    ..      i.      ...         .....      ....           5       b        N/A

      Organizations relying on a current notice regarding disaster assistance, check here

   c If the answer is 'Yes' to question 5a(4), does the foundation claim exemption from the
     tax because it maintained expenditure responsibility for the grant? .                                  N/A [] Yes n No
      If 'Yes,' attach the statement required by Regulations section 53.4945-5(d)

  6 a Did the foundation, during the year, receive any funds, directly or indirectly, to pay premiums
      on a personal benefit contract f . . ... . .. . . .. . Yes ®No
--b-Did-the-in:,nriatinn, rillriTg the year, Day_merrugrniglittly or indirectly, on a personal benefit contract?. . .                         6b         X
                                                                                                                       -I   -   -   -   .....'.„„„11,      ---

      If 'Yes' to 6b, file Form 8870.

  7 a At any time during the tax year, was the foundation a party to a prohibited tax shelter transaction? . I]Yes ®No
    b If 'Yes,' did the foundation receive any proceeds or have any net income attributable to the transaction?                     N/A       7b

  8 Is the foundation subJect to the section 4960 tax on payment(s) of more than $1 ,000,000 in remuneration
      or excess parachute payment(s) during the year?                                                                 Yes ®No
Part Vill Information About Officers, Directors, Trustees, Foundation Managers, Highly Paid Employees,
               and Contractors
  1 List all officers, directors, trustees, and foundation managers and their compensation. See instructions.
                                                         (b) Title, and average     (c)Compensation         (d) Contributions to
                                                                                                                                        (e) Expense account,
                                                              hours per week              (If not paid,       employee benefit
                (a) Name and address                                                                                                       other allowances
                                                            devoted to position            enter -0-)        plans and deferred
                                                                                                                compensation

                                                        PRES./CFO                                    0.                         0.                 0.
DE-8-BBA _W©QI). -SCH-WNQZ__
282-2_ H-I-L-LE-G-A-SS_Ay* u _-                          2.00

BERKELEY, CA 94705
                                                         SECRETARY                                   0.                         0.                 0.
-MA-EP-PT- -SCH-WABIi -----
282-2- H-I-L-LEGASS-AYE L --                             2.00

BERKELEY, CA 94705




  2 Compensation of five highest-paid employees (olher than those included ·in line 1 - see instructio is). If none, enter'NONE.'
                                                         (b)Title, and average                              ([d)Contributions to
      (a) Name and address of each employee                                                                    employee benefit         (e) Expense account,
                                                              hours per week        (c) Compensation                                       other allowances
               paid more than $50,000                                                                         plans and deferred
                                                            devoted to position
                                                                                                               compensation

BQNE_




Total number of other employees paid over $50,000 . . ....                                                                                                    0

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Part Vill Information About Officers, Directors, Trustees, Foundation Managers, Highly Paid Employees,
                  and Contractors (continued)

  3 Five highest-paid independent contractors for professional services. See instructions. If none, enter 'NONE.'
            (a) Name and address of each person paid more than $50,000                                                   (b) Type of service                  (c) Compensation

NONE




Total number of 6Eers-receiving over $50,000-for-professional services- --„-- .                                                   -1113                                   0


Part IX-A Summary of Direct Charitable Activities

List the foundation's four largest direct charitable activities during the tax year. Include relevant statistical information such as the number of                Expenses
organizations and other beneficiaries served, conferences convened, research papers produced, etc.

  1 -SCH-W-M-TA- EQ-U-ND-AT-ION- -PR-Q-VID-E-§_ P-E-E-R_TJJTOR-I-NG _I-NEQRMAU-ON _FP -TEAC-HERS----
       AND INSTITUTIONS THAT WANT TO CREATE OR IMPROVE THE                                                               PEER TUTORING

        PROGRESS IN THEIR SCHOOLS.
  2 A WEBSITE ENTITLED "PEER TUTORING RESOURCE" HAS CREATED AN INTERNET
                                                                                                                                                      -----



       CE-N-T-ER *fit**ATION£- -A# --WF,14 _A-S_B-L-OG-AND -TWIT-T-ER -ACT-I-V-IT-1 -%-L-A-TED- -TO _
        PEER TUTORING.

  3 SEE_SIATEMENT--4-------------------------------------------



  4




Part IX-B Summary of Program-Related Investments (see instructions)
                                                                                                                                                                   Amount
Describe the two largest program-related investments made by the foundation during the tax year on lines 1 and 2

   1 BLA----------------------------------------



  2




 All other program-related investments. See instructions
   3
                                                           -------




Total.                            Add                      lines                        1         through                                      3.        ...       ,.    0.
BAA                                                                                                                                                           Form 990-PF (2019)




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Part X Minimum Investment Return (All domestic foundations must complete this part. Foreign foundations,
             see instructions.)

 1 Fair market value of assets not used (or held for use) directly in carrying out charitable, etc., purposes.
   a Average monthly fair market value of securities                                                                               la


  b Average of monthly cash balances . , ... lb
  c Fair market value of all other assets (see instructions) . 1 c
  d        Total                        (add                      lines                      la,         b,     and      c)            .   1d        0.
  e Reduction claimed for blockage or other factors reported on lines 1 a and

      1 c (attach detailed explanation) .... .                                                            le|
 2 Acquisition indebtedness applicable to line 1 assets . .... 2
 3      Subtract                                line              2        from                  line      ld   ..   .   ..        3

 4 Cash deemed held for charitable activities Enter 1 -1/2% of line 3
      (for greater amount, see instructions)

 5 Net value of noncharitable-use assets. Subtract line 4 from line 3. Enter here and on Part V, line 4. .. . 5 0
 6 Minimum investment return. Enter 5% of line 5. ... .... . .... 6 0.
Part XI I Distributable Amount (see instructions) (Section 49420)(3) and 0)(5) private operating foundations
            and certain foreign organizations, check here» ® and do not complete this part.)
 1 Minimum investment return from Part X, line 6.                                   N/A                                            1


 2 a Tax on investment Income for 2019 from Part VI, line 5 . | 2 a|
  -6-[FitomeTax-for-2019.-Ems-does nohnclude-the-tax-frem Paft-Vt.)- -. -. £ 2 h
  c Add lines 2a and 2b ..... . ....                                                                                               2c

                                                                                                                                   3
 3 Distributable amount before adjustments. Subtract line 2c from line 1
 4 Recoveries of amounts treated as qualifying distributions....,.                                                                 4

 5 Add lines 3 and 4                                                                                                               5


 6 Deduction from distributable amount (see instructions)                                                                          6


 7 Distributable amount as adjusted. Subtract line 6 from line 5. Enter here and on Part XIII, line 1.                             7



Part XII Qualifying Distributions (see instructions)

 1 Amounts paid (including administrative expenses) to accomplish charitable, etc., purposes:
  a Expenses, contributions, gifts, etc. - total from Part 1, column (d), line 26                                             ..   la              67,856.
  b Program-related investments - total from Part IX-B. .. . .. . 1 b
 2 Amounts paid to acquire assets used (or held for use) directly in carrying out charitable, etc, purposes 2

 3 Amounts set aside for specific charitable projects that satisfy the:
  a Suitability test (prior IRS approval required) .... .. ..... . 3 a
   b Cash distribution test (attach the required schedule) . . ..... . . 3b

 4 Qualifying distributions. Add lines la through 3b. Enter here and on Part V, line 8; and Part XIII, line 4 4 67,856.
 5 Foundations that qualify under section 4940(e) for the reduced rate of tax on net investment income
      Enter 1% of Part l, line 27b. See instructions .. . .. .. 5 63.
 6 Adjusted qualifying distributions. Subtract line 5 from line 4 . .. . .. 6 67,793.
      Note: The amount on line 6 will be used in Part V, column (b), in subsequent years when calculating whether the foundation
             qualifies for the section 4940(e) reduction of tax in those years
BAA                                                                                                                                        Form 990-PF (2019)




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Part XIII Undistributed Income (see instructions)                             N/A

                                                            (a)                    (b)           (c)        (d)
                                                                                                  2018                2019
                                                           Corpus          Years prior to 2018


 1 Distributable amount for 2019 from Part XI,
      Nne 7

 2 Undistributed income, if any, as of the end of 2019:
   a Enter amount for 2018 only
   b Total for prior years. 20 , 20 , 20

 3 Excess distributions carryover, if any, to 2019.
   a From 2014.

   b From 2015

   c From 2016
   d From 2017

   e From 2018


   f Total of lines 3a through e

 4 Qualifying distributions for 2019 from Part
      XII, line 4: I $
   a Applied t9_2018, but not more than line 23

   b Applied to undistributed income of prior years
      (Election required - see instructions)

   c Treated as distributions out of corpus
     (Election required - see instructions)
   d Applied to 2019 distributable amount
   e Remaining amount distributed out of corpus
 5 Excess distributions carryover applied to 2019
      (If an amount appears in column (d), the
      same amount must be shown in column (a) )
 6 Enter the net total of each column as
      indicated below:

   a Corpus. Add lines 3f, 4c, and 4e. Subtract line 5

   b Prior years' undistributed income. Subtract
      line 4b from line 2b. ..

   c Enter the amount of prior years' undistributed
     income for which a notice of deficiency has
      been issued, or on which the section 4942(a)
      tax has been previously assessed

   d Subtract line 6c from line 6b. Taxable
      amount - see instructions.

   e Undistnbuted Income for 2018. Subtract line 4a from
      line 2a. Taxable amount - see instructions .


   f Undistributed income for 2019. Subtract lines
     4d and 5 from line 1. This amount must be
      distributed in 2020 .

 7 Amounts treated as distributions out of
      corpus to satisfy requirements imposed by
      section 1 70(b)(1)(F) or 4942(g)(3) (Election
      may be required - see instructions)

  8 Excess distributions cart*over from 2014 not
      applied on line 5 or line / (see instructions)

  9 Excess distributions carryover to 2020.
      Subtract lines 7 and 8 from line 6a

 10 Analysis of line 9:
   a Excess from 2015

   b Excess from 2016

   c Excess from 2017 .

   d Excess from 2018

   e Excess from 2019

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Part XIV Private Operating Foundations (see instructions and Part VII-A, question 9)
  1 a If the foundation has received a ruling or determination letter that it is a private operating foundation, and the ruling
      is effective for 2019, enter the date of the ruling
                                                                                                                                        .11/14/79
   b Check box to indicate whether the foundation is a private operating foundation described in section 49420)(3) or 49420)(5)
  2 a Enter the lesser of the adjusted net                 Tax year                                  Prior 3 years
                                                                                                                                              (e) Total
      income from Part I or the minimum
                                                            (a) 2019             (b) 2018              (c) 2017              (d) 2016
      investment return from Part X for
      each                                       year                           listed                                    .       0.            0.
   b             85%                                 of            line                        2a                    .      ,..,,               0.

   c Qualifying distributions from Part XII,
      line 4, for each year listed ,                          67,856.               81,700.               80,171.             106,250.          335,977.
   d Amounts included in line 2c not used directly
      for          active                        conduct                     of        exempt                         activities                     0.
   e Qualifying distributions made directly
     for active conduct of exempt activities.
      Subtract line 2d from line 2c .. 67,856.                                      81,700.               80,171.             106,250.          335,977.
  3 Complete 3a, b, or c for the
     alternative test relied upon:
   a 'Assets' alternative test - enter:


      (1) Value of all assets ,                             440,370.                                                                            440,370.

      (2) Value of assets qualifying under
          section 49420)(3)(B)(i) . .                       440,370.                                                                            440,370.

- -b™eNme#NkeiMMUM
      minimum investment return shown in Part X, ---
      line 6, for each year listed.....

    c 'Support' alternative test - enter:
      Cl) Total support other than gross
           investment income (interest,
          dividends, rents, payments
          on securities loans (section
          512(a)(5)), or royalties)

      (2) Support from general public and 5 or
           more exempt organizations as provided
           in section 4942(])(3)(B)(111)

      (3) Largest amount of support from
           an exempt organization

      (4) Gross investment income ...

 PartXV Supplementary Information (Complete this part only if the foundation had $5,000 or more in
              assets at any time during the year - see instructions.)
  1 Information Regarding Foundation Managers:
    a List any managers of the foundation who have contributed more than 2% of the total contributions received by the foundation before the
      close of any tax year (but only if they have contributed more than $5,000) (See section 507(d)(2).)
      NONE



    b List any managers of the foundation who own 10% or more of the stock of a corporation (or an equally large portion of the ownership of
      a partnership or other entity) of which the foundation has a 10% or greater interest.
      NONE



  2 Information Regarding Contribution, Grant, Gift, Loan, Scholarship, etc., Programs:
      Check here         I if the foundation only makes contributions to preselected charitable organizations and does not accept unsolicited
      requests for funds If the foundation makes gifts, grants, etc , to individuals or organizations under other conditions, complete items
      2a, b, c, and d. See instructions.
    a The name, address, and telephone number or email address of the person to whom applications should be addressed:




      SEE STATEMENT 5

    b The form In which applications should be submitted and information and materials they should include-


      SEE STATEMENT FOR LINE 2A

    c Any submission deadlines:



       SEE STATEMENT FOR LINE 2A
    d Any restrictions or limitations on awards, such as by geographical areas, charitable fields, kinds of institutions, or other factors:


       SEE STATEMENT FOR LINE 2A

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Part XV Supplementary Information (continued)
 3 Grants and Contributions Paid During the Year or Approved for Future Payment
                                               If recipient is an individual.
                                                                             ' Foundation
                    Recipient                   show any relationship to                    Purpose of grant or
                                                                                status of                                  Amount
                                                any foundation manager                         contribution
                                                or substantial contributor      recipient
      Name and address (home or business)
  a Patel during the year




      Total                                                       .                         3           a

  b Approved for future payment




      Total                                       .              .              ·           3                 b

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 Part XVI-A Analysis of Income-Producing Activities
Enter gross amounts unless otherwise indicated                    Unrelated business income   Excluded by section 512, 513, or 514
                                                                                                                                            (e)
                                                                  (a) (b) (c) (d) Related or exempt
                                                             Business            Amount       Exclu-            Amount                function income
                                                                  code                         sion
                                                                                                                                     (See instructions )
   1 Program service revenue:                                                                 code


    a


    b

    C


    d

    e


    f

    g Fees and contracts from government agencies
   2 Membership dues and assessments

   3 Interest on savings and temporary cash investments 14 220.
   4 Dividends and interest from securities 14 6,060.
   5 Net rental income or Coss) from real estate:

     a Debt-financed property
     b Not debt-financed property

   6 Net rental income or (loss) from personal property
   7 Other Investment Income

- 8 0-Ain nr-nnqq) from saies of_assets othecthaninventog_
   9 Net income or (loss) from special events
  10 Gross profit or (loss) from sales of inventory
  11 Other revenue:

     a


     b

     C


     d

    e



 12 Subtotal. Add columns (b), (d), and (e)                                                                            6,280.

 13 Total. Add line 12, columns (b), (d), and (e) 13 6,280.
(See worksheet in line 13 instructions to verify calculations.)

 Part XVI··B Relationship of Activities to the Accomplishment of Exempt Purposes
  Line No. Explain below how each activity for which income is reported in column (e) of Part XVI-A contributed importantly to the
         V accomplishment of the foundation's exempt purposes (other than by providing funds for such purposes). (See instructions.)

    N/A




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Part XVII Information Regarding Transfers to and Transactions and Relationships With Noncharitable
               Exempt Organizations
                                                                                                                                                                                Yes          NO

  1 Did the organization directly or indirectly engage in any of the following with any other organization
     described in section 501(c) (other than section 501(c)(3) organizations) or in section 527,
      relating to political organizations?

   a Transfers from the reporting foundation to a noncharitable exempt organization of:
      (1)                            Cash...                                                                .           la                     (1)                            X
      (2)                  Other                                   assets                                          ..          ..          la              (2)                    X
    b Other transactions:

      (1) Sales of assets to a noncharitable exempt organization .. . ... . . 1b (1) X
      (2) Purchases of assets from a noncharitable exempt organization . . . . . 1 b (2) X
      (3) Rental of facilities, equipment, or other assets . . . . 1 1. 1b (3) X
      (4) Reimbursement arrangements. ..... . . ..... · · 1 b (4) X
      (5) Loans or loan guarantees .... .. .. . .. . 1 b (5) X
      (6) Performance of services or membership or fundraising solicitations 1 b (6) X
    c Sharing of facilities, equipment, mailing lists, other assets, or paid employees . . . 1c X

    d If the answer to any of the above is 'Yes,' complete the following schedule. Column (b) should always show the fair market value of
      the goods, other assets, or services given by the reporting foundation If the foundation received less than fair market value in
      any transaction or sharing arrangement, show in column (d) the value of the goods, other assets, or services received.
 0}Linator-lb>Amountinvolved- - -(c) Name·ef-nench@Fitable-ex, . -orgar'tiiptinn __ _ld)ggscrtptton of_kan*p,_*sactions, and sharing arrangements
                                                                                  .Tili




N/A




  2 a Is the foundation directly or indirectly affiliated with, or related to, one or more tax-exempt organizations
       described in section 501(c) (other than section 501(c)(3)) or in section 527? ...... . . . Yes ®No
    b If 'Yes,' complete the following schedule.
            (a) Name of organization                                    (b) Type of organization                                     (c) Description of relationship

N/A




        Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is true,
        correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge
Sign                                                                                                                                                                  May the IRS discuss
                                                                                                                                                                      this return with the

Here k                                                                                                            PRESIDENT/CFO
                                                                                                                                                                      preparer shown below 7
                                                                                                                                                                      See Ir*kuctions
          Signature of officer or trustee                                            Date
                                                                                                                  Title IX|Yes n No
                 Print/Type preparer's name                            Preparer's signature                           Date
                                                                                                                                               Check if PTIN

Paid             CHARLENE R SMITH, CPA                                 CHARLENE R SMITH, CPA 2/28/20                                           self-employed       P00237963

                 Firm's name -              GRANT & SMITH, LLP                                                                           Firm's EIN    XX-XXXXXXX
Preparer
Use Only         Firm's address       333 HEGENBERGER ROAD., SUITE 325
                                            OAKLAND, CA 94621                                                                            Phone no
                                                                                                                                                          (510) 832-0257
BAA                                                                                                                                                                Form 990-PF (2019)




                                                                                  TEEA0503L 08/22/19
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2019                               FEDERAL STATEMENTS                                               PAGE 1


                                     SCHWARTZ FOUNDATION                                            XX-XXXXXXX




 STATEMENT 1
 FORM 990-PF, PART I, LINE 16B
 ACCOUNTING FEES


                                                (A)       (B)      NET             (C)       (D)
                                             EXPENSES       INVESTMENT         ADJUSTED          CHARITABLE

                                             PER BOOKS        INCOME       NET INCOME             PURPOSES


 ACCOUNTING                                      ....     .    $       875.           $          875.
                                   TOTAL $         875. $              0. $               0. $          875.




  STATEMENT 2
  FORM 990-PF, PART I, LINE 18
 TAXES


                                                (A) (B) NET (O --TOT-
                                             EXPENSES       INVESTMENT         ADJUSTED          CHARITABLE
                                             PER BOOKS        INCOME          NET INCOME          PURPOSES


  FEDERAL TAX .... .... $                         -780.                        $    -780.

  PAYROLL TAX EXPENSE .. 2,685.                                                                       2,685.
                                   TOTAL $       1,905. $              0. $               0. $        1,905.




  STATEMENT 3
  FORM 990-PF, PART 1, LINE 23
  OTHER EXPENSES


                                                  (A)        (B)       NET          (C)           (D)
                                              EXPENSES      INVESTMENT         ADJUSTED          CHARITABLE
                                             PER BOOKS         INCOME         NET INCOME           PURPOSES


  ADVERTISING... .. . $ 2,426. $ 2,426.
  BANK CHARGES . .. .. 179.                                                                             179.

  BUSINESS MEETINGS. . 187.                                                                             187.

  INSURANCE                         ....     853.                                                       853.

  PAYROLL PROCESSING FEES                        1,558.                                               1,558.
  SENIOR ENTERTAINMENT THERAPY ...              26,120.                                              26,120.
  SUPPLIES.                        ...       391.                                                       391.

                                                   108.                                                 108.
  TAXES, LICENSES & FEE
  WORKERS' COMP. INSURANCE 254.                                                                         254.

                                   TOTAL $      32,076. $               0. $              0. $       32,076.




  STATEMENT 4
  FORM 990-PF, PART IX-A, LINE 3
  SUMMARY OF DIRECT CHARITABLE ACTIVITIES


                          DIRECT CHARITABLE ACTIVITIES                                           EXPENSES


  SENIOR ENTERTAINMENT THERAPY THROUGH MUSIC HELPS RENEW THE MEMORIES
  OF SENIOR CITIZENS AND STIMULATES BRAIN FUNCTIONS THUS PROVIDING MORE
  SOCIAL AND PHYSICAL ACTIVITY THROUGH SINGING AND DANCING.
  PERFORMANCES WERE PROVIDED TO 23 RETIREMENT HOMES.
               Case 5:24-cv-04181 Document 1 Filed 07/11/24 Page 42 of 77

2019                               FEDERAL STATEMENTS                       PAGE 2


                                     SCHWARTZ FOUNDATION                    XX-XXXXXXX




 STATEMENT 5
 FORM 990-PF, PART XV, LINE 2A-D
 APPLICATION SUBMISSION INFORMATION


 NAME OF GRANT PROGRAM:
 NAME:                        DEBBRA WOOD SCHWARTZ
 CARE OF:
 STREET ADDRESS:              7711 OAKPORT ST.

 CITY, STATE, ZIP CODE:       OAKLAND, CA 94621
 TELEPHONE:                   510-562-5000
 E-MAIL ADDRESS:
 FORM AND CONTENT:            WRITTEN PROGRAM DESCRIPTION
 SUBMISSION DEADLINES:        NONE
 RESTRICTIONS ON AWARDS:      NONE
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                     EXHIBIT 4
STATE OF CALFORIA

RRF-1 1
(Rev. 09/2017)                     Case 5:24-cv-04181 Document 1 Filed 07/11/24 Page 44 of 77                                                         DEPARTIENT OF JUSHCE
                                                                                                                                                                   PAGE 1 of 5
IN

MAIL TO:                                                                                                                                             (For Registry Use Only)
Regestry of Charitable Trusts
P.O. Box 903447
                                          ANNUAL REGISTRATION RENEWAL FEE REPORT I
Sacramento, CA 94203*70                          TO ATTORNEY GENERAL OF CALIFORNIA
(916) 210-6400

STREET ADDRESS:
                                                       Sections 12586 -d 12587, California Government Code
13001 Street                                            11 Cd. Code Regs. secions 301-304 309, 311, and 312
Sacramento, CA 95814
                                                                                                                                                       RECEIVED
                                              Failue to submit INs report armually no later thin #01/ months and lifteen alter the end of the A
(916) 210-6400
                                            org=zation's accour*ing period Inay '                               -' '   assessment         oGt®mey General's Office
WEBSITE ADDRESS:                              nirisnim, t= 01 $800, plus inte.est, -1/or hes or iling penallies. Revenue & Taxation Code
                                                       -    -;r                        -     --61. mS - - d/beho,-ed-
w¥¥ua.gg¥ch-i:iest
                                                                                                                                                       -lili
                                                                                                                                                         -- - 1 5 2021
                                                                                                         Check rf:

SCHWARTZ FOUNDATION
Name of Organization                                                                                      Change of address Registry of Charitable Trusts
                                                                                                         --1



                                                                                                           3 Amended repolt
List all DBAs and names the organization uses or has used

14665 WASHINGTON AVENUE #26                                                                              State Charity Registration Number 039637
Address (Number and Street)


SAN LEANDRO, CA 94578                                                                                    Corporation or Organization No. 0967388
City or Town, State and ZIP Code

510-638-8764
Telephone Number                                  E-,1 Aciciress                                         Federal Eriployer ID No. XX-XXXXXXX

                          ANNUAL REGISTRATION RENEWAL FEE SCHEDULE (11 Cal. Code Regs. sections 301-307,311, and 312)
                                                               Make Check Payahle to Depa•tment of Justice

Gross Annual Revenue                               E= Woss Amli *mu.                                                   F Sms A-11* R-nue                                      Eee

Less than $25,000                                       0 Between $100,001 and $250,000                                       Between $1,000,001 and $10 million              $150
Between $25,000 and $100.000                         $25 Be-en $254001 -1 $1,-on                                              Be-een $1U00.001 and$50 ,-on $225
                                                                                                                              Greater th=i $50 miion                          $300

PART A - ACTIVITIES

         For your most recent full : J pena. (beg_ng                                     1/01/20 ening                          12/31/20 ) list.

     Gross Annual Revenue $               8,448,288.               Noncash Contributions $                                      0, Total Assets $                 8,739,218.

                           Progrmn Expenses $                        72,025.                           ToUExpenses $                              72,025.


PART B - STATEMENTS REGARDING ORGANIZATION DURING THE PERIOD OF THIS REPORT
Note: Allquestions must bea,-ered.Hyou-gier-»5*to=yof theestions below, youmustattachasepafak page
     providing an explanation and details for each -yes response. Please review RRF-1 instructions for information required.                                            Yes      No


1 During this reporting period, were there any contracts, loans, leases or other financial transactions between the organization and any
  officer, director ortrustee thereof, either directly or with an entity in which any such officer, diredoror trustee had any financial interest?                        0®

2 During this reporting period, was there any theft, embezzlement, diversion or misuse of the organization's charitable property or funds?
3 During this reporting period, were any organization funds used to pay any penalty, fine or judgment?                                                                   0®
4 During this reporting period, were the services of a commercial fundraiser, fundraising counsel for charitable purposes, or commercial
     coventurer used?                                                                                                                                                    0®

5 During this reporting per,od, did the organization receive any governmental funding?                                                                                   0@

6 During this reporting penod, did the organizat,on hold a Fame for charitable pwposes?                                                                                  0®

7 Does the organization conduct a vehicle donation program?                                                                                                              0®
8 Did the organization conduct an Independent audit and prepare audited fir=,cial statements in accordE•,ce with
     generally accepted accou*Ing pnnciples for this reporting period?                                                                                                   0®

9 At the end of this reporting period, did the organization hold restricted net assets, while reporting negative unrestricted net assets?                                0®

I ded#Ander penalty of perjury that 1 have examined this report, induding accompanying documents, and to the best of my knowledge
and,elief the content is true, correct and complete, and I am authorized to sign.
     1



     iature of Authoriz   gent
                                                     MARGOT SCHWARTZ
                                                     Prnted Name
                                                                                                        PRESIDENT
                                                                                                        Title
                                                                                                                                             11102.1        ate




                                                                                 CAEA9801L 03/-77 1 4 6 1 Y /5 0 ---3 &
                                        Case 5:24-cv-04181 Document 1 Filed 07/11/24 Page 45 of 77
       990-PF
                                                                                                                                                         OMB No. 1545-0047
Form                                                                     Return of Private Foundation
                                                      or Section 4947(a)(1) Trust Treated as Private Foundation                                             2020
                        - Do not enter social secutity numbers on this form as it may be made public.
Department of the Treasury
Internal Revenue Service - Go to w-w.hgo-onn990PF forinstnictions and the lamst information-                                                       Open to Public Inspection
For calendar year 2020 or tax year beginning , 2020, and ending 20
                                                                                                                      A E,•ployer ideriNc*tion n-ber
SCHWARTZ FOUNDATION                                                                                                           XX-XXXXXXX
14665 WASHINGTON AVENUE #26                                                                                           B Telephone number (see Instrucbons)

SAN LEANDRO, CA 94578                                                                                                         510-638-8764


                                                                                                                      C If memption application js pending, check here.. - [
    Check all that apply:                      initial return _
                                               Final return
                                                                              Initial retun of a former pdihc charity D 1 Fo,301 0,yaazabom, check heR.......... - U
                                                                              Amended return

                                               Address change                 Name change                                  2 Foreign organizations meeting the 85% test, check

    Check type of organization:
                                                                             -- hereand attach computation.............. -
                                                              Section 501 (c)(3) exempt private foinlation

       [| Section 4947(a)(1) nonexem. charitable trust |1Other taxable private foundation E Ifprivate foundation stitus was terminated
                                            J Accounting method: ®Cash [_|Accruat
    Fair market value of all assets at end of year                                                   under section 507(bX1)(Al check here ...... -
    (from Part It, column (c), line 16)

    .$ 8,949,810.
                                                                       El Oths-(spEfy)
                                                                  (Part 1, column (d), must be on cash basis.)
                                                                                                                        F If the foundation is in a 60-month termination r-1
                                                                                                                               under section 507(bXlxB), check here......

  'art I Analysis of Revenue and                                                                                                                          (d) Disbursements
            Expenses (The total of amounts in                                  (a) Revenue and     (b) Net investment         (c) Adjusted net               for charitable
            columns (b), (c), and (d) may not                                 expenses per books         income                     income
                                                                                                                                                                purposes
            necessarily equal the amounts in                                                                                                               (cash basis only)
            column (a) (see instructions).)
            1 Contributions, Ofts, grints, etc, received (alt# schedule)...       8,421,725.
            2 Check i if the f-datim m *r.*teallad, Sch. 0
            3 Interest on savings and temporay cash inies:ments.......                   2,777.                  2,777.                   2,777.
            4 Dividends and interest from securities. ........
                                                                                       12,997.               12,997.                     12,997.
            5 a Gross rents.
                b Net rental Income
                   or (loss)........

            63 Net gain or (loss) from sale of assets noton line 10.......
                                                                                                                                                     6 ECEIVED
                                                                                       10,789.
                b Gross sales price for all
                   assets on line 6a.....                     35,250.                                                                   Attomcb General's Office
            7     Capital gain net ricome (from Pat IV, hie 21 ...                                           10,789.
            8      Net short-term cap,tai gain.
                                                                                                                                                    fUL 1 5 2021
            9      Income modifications.

                a Gross sales less
           10
                   allowances......
                = returns and

                                                                                                                                        Registry,)f Charitable Trusts
                b Less: Cost of
                   goods sold......

                c Gross profit or (loss)(attach schedule)..

           11     Other ncome (attach schedule).



           12 -rou. Add lines,through 11...............                           8.448.288.                 26.563.                     15,774.
           13 Compensation of officers, directors, trustees, etc.
           14 Other employee salanes and wages.                                        33,625.                                                                       33,625.
           15 Pension plans, employee benefits...........
           16 a Legal fees (attach schedule). . . SEE .ST. 1
                                                                                         5,957.                                                                        5,957.
                b Accointng fees (attach sch)...SEE . S.T. 2                                925.                                                                            925.
                C Other professional fees (attach sch).SEE.ST. 3                         7,000.                                                                        7,000.
           17 Interest

           18 T=es (atel scheexsee #ms> 6 .SEE. .SIM. i                                  2,780.                                                                        2,780.
           19 Depreciation (attach
                  schedu¢e) and deplebon.........

                   Occupancy..................

                  Travel, conferences, and meetings

                  Printing and publication&........

                   Other expenses (attach schedule)

                                          SEE STATEMENT 5                              11,738.                                                                        11,738.
          24 Total operabng arld at*stnive
              expenses. Add lines 13 through 23. .                                       62,025.                                                                      62,025.
           25 Contrbilons, ofts, grits pald. .... -.PART..16(.                         10,000.                                                                        10,000.
                  Total expenses and disbwsements.
                  Add lines 24 and 25.....................
                                                                                      72,025.                         0.          0.          72,025.
           27 Subtract line 26 from line 12:

                a Excess otrevel,-le Gder ex,Ienses
                  and           W...           ................
                                                                                  8,376,263.
                b Net imvesne* income (it negative, enter -O-).                                              26,563.
                C A*sled net i=,me Of negative. enter -04.                                                                               15,774.
EMA For Papenvork Reduction Act Notice, see instructions                                                 TEEA0301L 01/20/21                                Form 990-PF (2020)
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Form 990-PF (2020) SCHWARTZ FOUNDATION                                                                                          XX-XXXXXXX                Page 2
                                      Attached schedules and amounts K, the description
                                                                                              Beginning of year                      End of year
Part 11 Balance Sheets column shoukd be for end*year amants onky.
                                      (See instructions.)                                      (a) Book Value        (b) Book Value        (c) Fair Market Value
       1 Cash -non-interest-bearing .... ... ....... ...............
       2 Savings and temporary cash investments.                                                       155,110.        8,080,008.                  8,080,008.
       3 Accounts receivable...............

           Less: allowance for doubtful accounts -
                                                              -----------


       4 Pledges receivable................

           Less: allowance for doubtful accounts -
                                                              --------

       5 Grants receivable .............................

       6 Receivables due from officers, directors, trustees, and other
           disqualified persons (attach schedule) (see instuctions).

       7 Other notes and loans receivable (attach sch).. *
                                                              -----------

           Less: allowance for doubtful accounts -

       8 Inventories forsale oruse................................

       9 Prepaid expenses and deferred charges....................

      1Oa Investments - U.S. and state government
           obligations (attach schedule)..............................

         b Investments - corporate stock (attach schedule). . . .                                      207,845.            659,210.                  869,802.
         c Investments - corporate bonds (attach schedule).....................

      11 Investments - land, buildings, and
          equipment: basis.................. -
           Less: accumulated depreciation
           (attach schedule).....................
                                                              ------


      12 Investments -mortgage loans.

      13 Investments-other (attach schedule).....................

      14 Land, buildings, and equiprnent: basis -
           Less: accumulated depreciation
           (attach schedule).....................
                                                              -----------


      15 Other assets (describe - )
      16 Total assets (to be completed by all filers -
          see the instructions. Also, see page 1, item 1)...............                               362,955.        8,739,218.                  8,949,810.
      17 Accounts payable and accrued expenses...................
      18 Grants payable..........................................
      19 Deferred revenue .

      20 Loans from officers, directors, U·ustees, & other disqualified persons-.......

      21 Mortgages and other notes payable (attach schedule)...................
      22 Other liabilities (describe                                                      )


      23 Total liabilities (add lines 17 through 22).................... 0 0
           Foundations that follow FASB ASC 958, check here
           and complete lines 24,25,29, and 30.

      24 Net assets without donor restrictions.......................
                                                                                                       362,955.        8,739,218.

      25 Net assets with donor restrictions.


           Foundations that do not follow FASB ASC 958, dieck her€r
           and complete lines 26 through 30.
 b
      26 Capital stock, trust principal, or current funds...............

 27 Paid-in or capital surplus, or land, bldg., and equipment fund............
 28 Retained earnings, accumulated income, endowmeg or other flmds........
 29 Total net assets or fund balances (see instructions)..........
                                                                                                       362,955.        8,739,218.
      30 Total liabilities and net assets/fund balances
          (see instructions).........................................                                  362,955.        8,739,218.
Part 111 Analysis of Changes in Net Assets or Fund Balances
 1 Total net assets or fund balances at beginning of year - Part Il, column (a), line 29 (must agree with
     end-of-year figure reported on prior year's returrO............................ .......................... 1                                    362,955.
     Enter amount from Partl, line 27a.................................................................... 2 8,376,263.
     Other increases not included in line 2 (itemize) - 3

     Addlinesl, 2, and 3................................................................................. 4 8,739,218.
     Decreases not included in line 2 (iternize) i 5
                                                  --    --   ------        -   -   -----I---       -   ---   -----   ---   -   ---


     Total net assets or fund balances at end of year Oine 4 minus line 5) - Part It column (b), line 29........... 6                              8,739,218.
                                                                            TE#12"12, 09/28120
                                                                                                                                             Form 990-PF (2020)
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Form 990-PF (2020) SCHWARTZ FOUNDATION                                                                                          XX-XXXXXXX                          Page 3

immt.1 Capital Gains and Losses for Tax on Investment Income
                 (a) List and describe the kind(s) of property sold (for example, real estate,                (b) How acquired (C) Date acquired            (d) Date sold
                                                                                                               P - Purchase          (mo., day, yr.)        (mo., day, yr.)
                      2-story brick warehouse; or common stock, 200 shs. MLC Co.)                               D - Donation


 1 a MOBILEIRON INC                                                                                                  P 4/03/18 12/01/20
  b

  C


  d

  e



        (e) Gross sales price                 (f) Depreciation allowed                (g) Cost or other basis                          (h) Gain or (loss)
                                                    (or allowable)                     plus expense of sale                          ((e) plus (f) minus (g))

  a       35,250.                                                                                        24,461.                                              10,789.
  b

  C


  d

  e


      Complete only for assets showing gain in column (h) and owned by the foundation on 1 2/31/69.                                    (1) Gains (Col. (h)
                                                 0) Adjusted basis .                 (k) Excess of col. (i)                     gain minus col. (10, but not less
        (i) FMV as of 12/31/69 .
                                                   as of 1 2/31/69                    over col. 0), if any                     than -0-) or Losses (from col. (h))


  a                               10,789.
  b

  C


  d

  e




 2 Capital gain net income or (net capital loss).....
                                                             _-lf gain, also enter in Part I, line 7 3
                                                               Llf (loss), enter -0- in Part 1, line 7 3 2                                                    10,789.
 3 Net short-term capital gain or (loss) as defined in sections 1222(5) and (6):


      in   Part l, line 8..................................................................... - 3
      If gain, also enter in Part 1, line 8, column (c). See instructions. If (loss), enter -0-
                                                                                                                                                                         0.

8%*I i Qualification Under Section 4940(e) for Reduced Tax on Net Investment Income
                        SECTION 4940(e) REPEALED ON DECEMBER 20, 2019 - DO NOT COMPLETE.
 1 Reserved


                 (a)                              (b)                              (c)                             (d)
             Reserved                                 Reserved                               Reserved ·                                    Reserved



                                                                                                                                                 04* *1.,
             Reserved                                                                                                      , ?1,1 Smar&,
                                                                                                                                     9% .ta*¥
             Reserved

             Reserved
                                                                                                   i lij« *ily ' 2
             Reserved                      Q      /

             Reserved



 2 Reserved                                                                                                                2 L


 3 Reserved .



                                                                                                                                                                       <2**ty
 4 Reserved .



 5 Reserved ,



 6        Reserved                                            .                                                            6 Ff


 7       Reserved                               .                                                                         7
                                                                                                                                                              6 2 ..3
                                                                                                                                                                   4/



 8 Reserved.                                                                                                               8
                                                                                                                                      .     /4.{*ip %,h
                                                                                                                                            I:.I'.                »
BAA
                                                                                                                                                Form 990-PF (2020)




                                                                     TEEA0303L 01/19/21
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Form 990-PF (2020) SCHWARTZ FOUNDATION                                                                                                     XX-XXXXXXX                  Page 4

[MiFFWEIE*EmeTax-BE@dERinveitmentinEEme(Section4946(a),4946(b),or4948-seeinstructions)
  la Exempt operating foundations described in section 4940(d)(2), check here....... • |_| and enter 'N/A' on line 1. r-/10.........
      Date of ruling or determination letter:                        (attach copy of letter if necessary - see instructions)
    b Reserved.                                                                                                                                                        369.

    c All other domestic foundations enter 1.39% of line 27b. Exempt foreign organizations, enter 4% of
      Partl, line 12, col. (b).



      foundations only; others, enter -0-)......................................................................
  2 Tax under section 511 (domestic section 4947(a)(1) trusts and taxable
                                                                                                                                                                          0.

  3 Add lines land 2.........................,............................................................                                                             369.

  4 Subtitle A (income) tax (domestic section 4947(a)(1) trusts and taxable foundations only; others, enter -0-).. 4                                                      0.

  5 Tax based on investment income. Subtract line 4 from line 3. If zero or less, enter -0-......................                                                      369.

  6 Credits/Payments:

    a 2020 estimated tax pymts and 2019 overpayment credited to 2020...i.......................- 6a
    b Exempt foreign organizations - tax withheld at source....,...................-
    c Tax paid with application for extension of time to file (Form 8868)                                        6ct
    d Backup withholding erroneously withheld..................................... L6 d
  7 Total credits and payments. Add lines 6a through 6d ............................                                                                                      0

  8 Enter any penalty for underpayment of estimated tax. Check here if Form 2220 is attached.............
  9 Tax due. If the total of Ines 5 and 8 is more than line 7, enter amount owed............................................ -L_2                                      369


 10 Overpayment. If line 7is more than the total of lines 5 and 8, enter the amount overpaid.................................. *_19
 11 Enter the amount of line 10 to be: Credited to 2021 estimated tax - | Refunded                                                               *I 11

miiEVil;*75iKiEEiili@*wami*Ziivii@
  1 a During the tax year, did the foundation attempt to influence any national, state, or local legislation or did it
                                                                                                                                                            34*Yes No
      participate orintervene in any political campaign?.                                                                                                         la     X


    b Did it spend more than $100 during the year (either directly or indirectly) for political purposes?
      See the instructions for the definition .                                                                                                                   1b     X

      If the answer is 'Yes' to la or lb, attach a detailed description of the activities and copies of any materials published
      or distributed by the foundation in connection with the activities.

    c Did the foundation file Form 1120-POL for this year?.                                                                                                       1c     X

    d Enter the amount (if any) of tax on political expenditures (section 4955) imposed during the year:
      (1) On the foundation • $                                              0. (2) On foundation managers - $                                           0- 1
    e Enter the reimbursement (if any-FE-67[Fiefounaition-EEFing the year for political expenditure ta£iii®se-on
      foundation managers •$ 0.                                                                                                                             114


  2 Has the foundation engaged in any activities that have not previously been reported to the IRS?.........
      If 'Yes,' attach a detailed description of the activities.
                                                                                                                                                           9393\1
  3 Has the foundation made any changes, not previously reported to the IRS, in its governing instrument, articles
      of incorporation, or bylaws, or other similar instruments? If 'Yes,' attach a conformed copy of the changes. .
  4 a Did the foundation have unrelated business gross income of $1,000 or more during the year?..,

    blf 'Yes,' has it filedatax return on Form 990-T for this year?. .................................
  5 Was there a liquidation, termination, dissolution, or substantial contraction during the year?........................

      If 'Yes,' attach the statement required by General Instruction T.
  6 Are the requirements of section 508(e) (relating to sections 4941 through 4945) satisfied either:

      • By language in the governing instrument, or

      0 By state legislation that effectively amends the governing instrument so that no mandatory directions that conflict
        with the state law remain inthe governing instrument?................................................

  7 Did the foundation have at least $5,000 in assets at any time during the year? If 'Yes,' complete Part 11, col. (c), and Part XV..........

  8 a Enter the states to which the foundation reports or with which it is registered. See instructions
         CA

    b If the answer is 'Yes' to line 7, has the foundation furnished a copy of Form 990-PF to the Attorney General
                                                                                                                                                           04[14*
      (or designate) of each state as required by Genera/ /nstruction G7 If 'No,' attach explanation.

  9 Is the foundation claiming status as a private operating foundation within the meaning of section 49420)(3) or 4942(j)(5) 1*E.-%4-==i
      for calendar year 2020 or the tax year beginning in 2020? See the instructions for Part XIV. If 'Yes,' complete Part XIV. ] 9 X
 10 Did any persons become substantial contributors during the tax year? If 'Yes,' attach a schedule listing their names
      and addresses.
                                                                                                                                                           LlLL_li
BAA                                                                                                                                                      Form 990-PF (2020)




                                                                                  TEEA0304L 09/28/20
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Form 990-PF (2020) SCHWARTZ FOUNDATION                                                                                  XX-XXXXXXX                   Page 5

fR#*911:*71-Statements-Regarding-Activities<cont,nued)
 11 At any time during the year, did the foundation, directly or indirectly, own a controlled entity
      within the meaning of section 512(b)(13)? If 'Yes,' attach schedule. See instructions..........                  ...............1-11-E
 12 Did the foundation make a distribution to a donor advised fund over which the foundation or a disqualified person had
      advisory privileges? If 'Yes,' attach statement. See instructions...................................................1 12 X
 13 Did the foundation comply with the public inspection requirements for its annual returns and exemption application?.....F-i3-X
      Website address......................... ..... • BAI;*-CH-WART-Z-F©UND-ATIP-NQ-RG_-_________
 14 The books are in care of • SCH¥3TA- EQUNDAT-IQN_ ___-____-_--__ Telephone no. * 3101-56-21.50*- 2_ i
      Located at •      7711 OAKPORT ST. OAKLAND CA ' ZIP+4•                                                            -946-2-1 -2_026
                                                                                                                                      JOA 3 -- C]
                       ----------------------------------


 15 Section 4947(a)(1) nonexempt charitable trusts filing Form 990-PF in lieu of Form 1041 - check here.
      and enter the amount of tax-exempt interest received or accrued during the year.........................•| 15 | A
 16 At any time during calendar year 2020, did the foundation have an interest in or a signature or other authority over a
      bank, securities, orother financial account ina foreign country?.

      See the instructions for exceptions and filing requirements for FinCEN Form 114. If 'Yes,'
      enter the name of the foreign country •

  ii.:irRE[Statements-Regirding-Activities-forWhichform-4720-May-Be-Reauired
      File Form 4720 if any item is checked in the 'Yes' column, unless an exception applies.                                                    Yes No

  1 a During the year, did the foundation (either directly or indirectly):

      (1) Engage in the sale or exchange, or leasing of property with a disqualified person?.............. L]Yes ®No
      (2) Borrow money from, lend money to, or otherwise extend credit to (or accept it from) a
          disqualified person?....................................................................,.... EYes ®No
      (3) Furnish goods, services, or facilities to (or accept them from) a disqualified person?............ |Yes |R|No
      (4) Pay compensation to, or pay or reimburse the expenses of, a disqualified person?.............. E|Yes ®No
      (5) Transfer any income or assets to a disqualified person (or make any of either available
                                                                                                                                               444
          for the benefit oruseofadisqualified person)?.......................................... .... E|Yes ®No
      (6) Agree to pay money or property to a government official? (Exception. Check 'No' if the
          foundation agreed to make a grant to or to employ the official for a period after termination
          of government service, if terminating within 90 days.) .                                                   1 Yes 68 No

   b If any answer is 'Yes' to 1 a(1 )-(6), did any of the acts fail to qualify under the exceptions described in
     Regulations section 53.4941(d)-3 or in a current notice regarding disaster assistance? See instructiohs....                          1 b N A

      Organizations relying on a current notice regarding disaster assistance, check here. .

   c Did the foundation engage in a prior year in any of the acts described in 1 a, other than excepted acts,
      that were not corrected before the first day of the tax year beginning in 2020?.........................                            1c             X


 2 Taxes on failure to distribute income (section 4942) (does not apply for years the foundation was a
      private operating foundation defined in section 49420)(3) or 49420)(5)):

   a At the end of tax year 2020, did the foundation have any undistributed income (Part XIII, lines 6d and
      6e) for tax year(s) beginning before 2020?.............:......................................... [ ] Yes ® No
      If 'Yes,' list the years - 20 ,20__,20__ ,20__

   b Are there any years listed in 2a for which the foundation is not applying the provisions of section 4942(a)(2)
     (relating to incorrect valuation of assets) to the year's undistributed income? (If applying section 4942(a)(2) to
     all years listed, answer 'No' and attach statement - see instructions.>.......................,...,.,.........                       2b         NFA
   c If the provisions of section 4942(a)(2) are being applied to any of the years listed in 2a, list the years here.
      i 20
                   ,20__ ,20__ ,20__                                                                                                            3 «3¥f
                                                                                                                                                %



 3 a Did the foundation hold more than a 2% direct or indirect interest in any business
      enterprise atany time during the year?.......................................................... U Yes ®No
   b If 'Yes,' did it have excess business holdings in 2020 as a result of (1) any purchase by the foundation
      or disqualified persons after-May 26,1969; 0 the lapse of the 5-y.ear period (or longer period approved
      by the Commissioner under section 4943(c)(/)) to dispose of holdings acquired by gift or bequest; or
      (3) the lapse of the 10-, 15-, or 20-year first phase holding period? (Use Form 4720, Schedule C, to
      determine if the foundation had excess business holdings in 2020.)........ ............................                             3b N A

 4 a Did the foundation invest during the year any amount in a manner that would jeopardize its
      charitable purposes?.                                                                                                               4a             X


   b Did the foundation make any investment in a prior year (but after December 31, 1969) that could
      jeopardize its charitable purpose that had not been removed from jeopardy before the first day of
      the tax year beginning in 2020?.                                                                                               | 41,| | X
BAA
                                                                                                                                   Form 990-PF (2020)




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Part VII-B Statements Regarding Activities for Which Form 4720 May Be Required (continued)
 5 a During the year, did the foundation pay or incix any amount to:                                                                      Yes No

      Cl) Carry on propaganda, or otherwise attempt to influence legislation (section 4945(e))? .                I Yes ® No
      (2) Influence the outcome of any specific public election (see section 4955); or to carry
          on, directly or indirectly, any voter registration drive?................................

      (3) Provide a grant to an indiv,dual for travel, study, or other similar purposes?............

      (4) Provide a grant to an organization other than a charitable, etc., organization described
                                                                                                                 LIYes ®NO
          insection 4945(d)(4)CA)?See inskuctions.....-..................................                         glYes ®No
      (5) Provide for any purpose other than religious, charitable, scientific, literary, or
          educational purposes, or for the prevention of crt,elty to children or animals?...                      O Yes ®No
   b If any answer is 'Yes' to 530)-®, did any of the transactions fail to qualify Mider the exceptions
      described in Regulations section 53.4945 or in a ct,rent notice regarding drsaster assistance?
      See instructions................................................................................................ 5 b                   N/A

      Organizations relying on a current notice regarding disaster assistance, check here........................ • U
   c If the answer is 'Yes' to question 5*4), does the folinciation claim exernption from the
                                                                                                          N/A
     tax because it maintained expenditure responsibility for the grant?....................            ........ []Yes El No
      If 'Yes,' attach the statement required by Regulations section 53.4945-5(d).

  6 a Did the foundation, during the ear, receive any funds, directly or indirectly, to pay premiums
      onapersonalbenefit contracd............................................................... E]Yes ®No
   b Did the foundation, during the year, pay premiums, directly or indirectly, on a personal benefit contract?................. 6 b X
      If 'Yes' to 6b, file Form 8870.

  7 a At any time during the tax year, was the foundation a party to a prohibited tax shelter transaction?. . . . . ]Yes ®No
   blf 'Yes,' did the foundation receive any proceeds or have any net income atinbutable to the transaction?........... N/A · 7 b
  8 Is the foundation subject to the section 4960 tax on payment(s) of rnore than $1,000,000 in remuneration

      orexcess parachute payment(s) during the year? . ....-.......... ... ..............................El Yes ®No
Part VI11 Information About Officers, Directors, Trustees, Foundation Managers, Highly Paid Employees,
               and Contractors
  1 List all officers, directors, trustees, and foundation managers and their compensation. See instructions
                                                         (b) Title, and average    (c) Compensation      (d) Contributions to
                                                             hours per week                                employee benefit
                                                                                                                                (e) Expense account,
               (a) Name and address                                                     (If not paid,                              other allowances
                                                           devoted to posit,on           enter -0-)       plans and deferred
                                                                                                             compensabon

1¤AH_ S-(flWARIZ_ _ ____ TREASURER/SEC                                                                                          0.   0.       0.
-2822_H-I-L-1-G-ASS -A-£--_33_____ 1.00
BERKELEY, CA 94705

MMPT -SfUNABIZ- __ PRESIDENT                                                                                          0.         0.         0.

-282.2_H-I-L-LE-G-ASS-AyE.---_________ 2.00
BERKELEY, CA 94705




  2 Compensation of five highest-r- employees (other th- " - ' ' ' on line 1 - see instrucNons). H none, enter 'NONE'
                                                         (b) Titk, and average                           (d)Contribut,ons to
      (a) Name and address of each employee                                                               employee benefit      (e) Expense account,
                                                             hours per week        (c) Compensation
               paid more than $50,000                                                                     plans and deferred       other allowances
                                                           devoted to position
                                                                                                            compensation
NONE




  -                  -------------                   -




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Part Vlll Information About Officers, Directors, Trustees, Foundation Managers, Highly Paid Employees,
             and Contractors (continued)
  3 Five highest-paid independent contractors for p,o-ional se,-- See - - . H none, enler'NONE'

            (a) Name and address of each person paid more than $50,000                                                   (b) Type of service                (c) Compensation

NQNK-




Total number of others receiving over $50,000 forprofessional services............................................ 0


Part IX-A Summary of Direct Charitable Activities

List the foundation's four largest direct charitable activities during the tax year. Indude relevant statistical information such as the number of
                                                                                                                                                                  Expenses
organizations and other beneficiaries served, conferences convened, research papers produced, etc.

  1 SCHWARTZ FOUNDATION PROVIDES PEER TUTORING INFORMATION FOR TEACHERS

       AND INSTITUTIONS THAT WANT TO CREATE OR IMPROVE THE PEER TUTORING
        PROGRESS IN THEIR SCHOOLS.                                                                                                                                    72,025.
  2 A WEBSITE ENTITLED "PEER TUTORING RESOURCE" HAS CREATED AN INTERNET
       -          -         ..----                                --               I.I---I-------



       -CE--Eg -pf_INFORMATION, AS WELL AS BLOG AND TWITTER ACTIVITY RELATED TO
        PEER TUTORING.

  3 SEE_STATE}ENT--5_-__---------------------------------------



  4




Part IX-B Summary of Program-Related Investments (see instructions)
 Describe the two largest program-related investments made by the foundation during the tax year on lines 1 and 2.                                                 Amount


   1 1,0.-------------------------------------------------



  2




 Atl other program-related investments. See inslructions.
   3
       ----------------




Total. Add lines 1 through 3....................................................................................                                                              0.
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Part X Minimum Investment Return (All domestic foundations must complete this part. Foreign foundations,
            see instructions.)

 1 Fair market value of assets not used (or held for use) directly in carrying out charitable, etc., purposes:
   a Average monthly fair market value ofsecurities.........................................................        la

  b Average of monthly cash balances .................................................................... 1 b
  c Fair market value ofall other assets (see instructions)...................................................      1c

  d Total (add linesla, b, andc)......................................................................... 1 d 0.
  e Reduction claimed for blockage or other factors reported on lines la and

      lc(attach detailed explanation).............................................1 le|
 2 Acquisition indebtedness applicable to line l assets................................................... 2
 3 Subtract line 2 from line ld........................................................................... 3


 4 Cash deemed held for charitable activibes. Enter 1 -1/296 of line 3
      (forgreater amount, see instructions).................................................................. 4

 5 Net value of nonchawitable-use assets Subtract line 4 from line 3. Enter here and on Part V, line 4.......... 5 0.

 6 Minimum investment return. Enter 5% of line 5............................................ - ............ 6 0.

Part XI Distributable Amount (see instructions) (Section 49420)(3) and o)(5) private operating foundations
           and certain foreign organizations, check here - and do not complete this part.)
 1 Minimum investment return from Part X, lined...........NZA ......................................... 1
 2 a Taxoninvestment income for 2020 from Part VI, line 5........................ | 2
  b Income tax for 2020. (This does not include the tax from Part VI.>..............| 2 b|
  c Add lines 23 and 2& .................................................................................           2c

 3 Distributable amount before adjustments. Subtract line 2£ from line 1..................................... 3

 4 Recoveries of amounts treated asqualifying distributions ................................................ 4
 5 Add lines 3 and 4.................................................................................... 5

 6 Deduction from distributable amount (see instructions>.................................................. 6

 7 Distributable amount as adjusted. Subtract line 6 from line 5. Enter here and on Part XIII, line 1............. 7


Part XII Qualifying Distributions (see instructions)

 1 Amounts paid (including administrative expenses) to accomplish charitable, etc., purposes:
   a Expenses, contributions, gifts, etc. - total from Part 1, column (d), line 26.                                  la            72,025.
   b Program-related investments - totalfrom Part IX-B. ......... ..... . .....................................      1b

 2 Amounts paid to acquire assets used (or held for use) directly in carrying out charitable, etc., purposes...... 2

 3 Amounts set aside for specific charitable projects that satisfy the:
   a Suitability test (prior IRS approval required) .                                                               3a

   b Cash distribution test (attach the required schedule)...........................................               3b


 4 Qualifying distributions. Add lines la through 3b. Enter here and on Part V, line 8; and Part XIII, line 4...... 4 72,025.

 5 Foundations that qualify under section 4940(e) for the reduced rate of tax on net investment income.
    Enterl%of Partl, line 27b. See instructions...............................-.-......................... 5

 6 Adjusted qualifying distributions. Subtract line 5 fromline 4............................................. 6                    72,025.

      Note: The amount on line 6 will be used in Part V, column (b), in subsequent years when calculating whether the foundation
            qualifies for the section 4940(e) reduction of tax in those years.
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.1 1 Undistributed Income (see instructions)
                                                                                                      N/A

                                                                       (a)                   (b)                                                                                       (d)
                                                                      Corpus                  Years prior to 2019                                      2?9                           2020



 1 Distributable amount for 2020 from Part XI,              7
      line 7


 2 Undistributed income, if any, as of the end of 2020: *%11=*21*ae@*m =201

   a Enter amount for 2019 only....

   b Total for prior years: 20 , 20 , 20 2
 3 Excess distributions carryover, if any, to 2020:
   a From 2015...........|
   b From 2016..........


   c From 2017..,..,,.,,.ELIPILIN
   d From 2018.
                                                                                                                                    iili!/1/1


                                                                                                                                                                     i 2% %{4}'-941«

   f Total of lines 3a through e.                                                                                                                                   U1·:' fal I ' 0




                                                                                                                   1%12/4r
 4 Qualifying distributions for 2020 from Part                                                                                                                      -E*E--*EFEF

      XII, line 4: * $
                                                                                                                                                                     P./.0 :0
   a Applied to 2019, but not more than line 2a...                      /
                                                                                                                                                                     ./Ill'll

   b Applied to undistributed income of prior years[ e
      (Election required - see instructions)........1
                                                                                                                                                                                       ....00.
                                                                                                                                                444w
   c Treated as distributions out of corpus
      (Election required - see instructions)........ ' :.m*: 4:/-://I«4§*EE»3HHEN't.:2=2*2291--.-i-/                                            41.§*al

                                                                                                                                                E-...I.&.-1#
   d Applied to 2020 distributable amount........ F-3                           NS




  e Remaining amount distributed out of corpus. . i                                      1   ...I''   $.''I                                                            ===1111

 5 Excess distributions carryover applied to 2020
      (If an amount appears in column (d), the
                                                                                                                                                             4040
      same amount must be shown in column (a).)

 6 Enter the net total of each column as 1.,/4%
                                              9
      indicated below:

  a Corpus. Add lines 3f, 4£, and 4e. St,btract line 5.

                                                                            .

   b Prior years' undistributed income. Subtract                                                                                                                %7
      line 4b from line 2b........................

  c Enter the amount of prior years' undistributed
    income for which a notice of deficiency has
      been issued. or on which the section 494:
                                                                                                                                                                                              %>
      tax has been previously assessed .
                                                                                     h

  d Subtract line 6c from line 6b. Taxable
      amount - see instructions...........


  e Undistributed income for 2019. Subtract line 4a from
      line 2a. Taxable amount - see instructions.........                                                     4/




  f Undistributed income for 2020. Subtract lines
      4d and 5 from line 1. This amount must be
      distributed in 2021.
                                                                                         H


 7 Amounts treated as distributions out of
      corpus to satisfy requirements imposed by
      section 1 70(b)(1)(F) or 4942(g)(3) (Election
      may be required - see instructions)........
                                                                                                                             1114                                          .



 8 Excess distributions carr*over from 2015 not
      applied on line 5 or line / (see instructions).
                                                                                                              '


 9 Excess distributions carryover to 2021.                                                                         h

      Subtract lines 7 and 8 from line 6a ....
                                                                                                                                    '



10 Analysis of line 9:
  a Excess from 2016 ....

  b Excess from 201 Z..
                                                            'IN 1
  c Excess from 2018 ....
                                                                111                                                                                                    "'"''%%19;;;34>2¢21'

  d Excess from 2019....

  e Excess from 2020.
                                                                      'faW#b                                                                                           u di
BAA
                                                                                                                                                                        Form 990-PF (2020)




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Part XIV Private Operating Foundations (see instructions and Part VII-A, question 9)
 1 a If the foundation has received a ruling or determination letter that it is a private operating foundation, and the ruling
      iseffective for 2020, enter thedate oftheruling.........................-........„........................... 111/14/79
  b Check box to indicate whether the foindation is a private operating foundation described in section 49420)(3) or 49420)(5)
 2 a Enter the lesser of the adjusted net               Tax year                              Prior 3 years
      income from Part I or the minimum                                                                                                 (e) Total
      investment return from Part X for                 w 2020              (b) 2019            (c) 2018             (d) 2017
      each                     year                   listed......................                                                  0.        0.
  b         85%                       of          line        28........................                                                     0.

  c Qualifying distributions from Part XII,
      line 4, foreach year listed............. 72,025.                        67,856.              81,700.             80,171.           301,752.
  d Amounts included in line 2c not used directly
    for active conduct                                        of      exempt                    activities..........                            0.

  e Qualifying distributions made directly
      for active conduct of exempt act!vibes.
      Subtract iine 2d from line 2c...........            72,025.             67,856.              81,700.             80,171.           301,752.
 3 Complete 38, b, or c for the
      alternative test relied upon:
  a 'Assets' alternative test - enter:

      (1) Value of all assets................ 440,370.                                                                                   440,370.
      (2) Value of assets qualifying under
          section                                                           440,370.                                                     440,370.
  b 'Endowrnenf alternative test - enter 2/3 of

      minimum investment return shown in Part X,
      line 6, for each yearlisted..................

  c 'Support' alternative test - enter:

      m Total support other than gross
         investment incorne Onterest
          dividends, rents, payments
          on securities loans (section
          512(a)(5)), or royalties)........

      0 Support from general public and 5 or
          more exempt organizations as provided
          in section 4942(jx3XBXiii) .............
      (3) Largest amount of support from
          an exempt organization............

      (4) Gross investment income..........

Pat XV Supplementary Information (Complete this part only if the foundation had $5,000 or more in
              assets at any time during the year - see instructions.)
 1 Information Regarding Foundation Managers:
  a List any managers of the foundation who have contributed more than 2% of the total contributions received by the foundation before the
    close of any tax year (but only if they have contributed more than $5,000). (See section 507(d)(2).)
      NONE



   b List any managers of the foundation who own 10% or more of the stock of a corporation (or an equally large portion of the ownership of
      a partnership or other entity) of which the foundation has a 10% or greater interest.
      NONE



 2 Information Regarding Contribution, Grant, Gift, Loan, Scholarship, etc., Programs:

      Check here * if the foundation only makes contributions to preselected charitable organizations and does not accept unsolicited
      requests for funds. If the foundation makes gifts, grants, etc., to individuals or organizations under other conditions, complete items
      2a, b, c, and d. See instructions.

   a The name, address, and telephone number or email address of the person to whom applications should be addressed:




      SEE STATEMENT 7

   b The form in which applications should be submitted and information and rnaterials they should include:



       SEE STATEMENT FOR LINE 2A

   c Any submission deadlines:



      SEE STATEMENT FOR LINE 2A

   d Any restrictions or limitations on awards, such as by geographical areas, charitable fields, kinds of institutions, or other factors:


       SEE STATEMENT FOR LINE 2A

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4%¢t *¥3 Supplementary Information (continued)
 3 Grants and Contributions Paid During the Year or Approved for Future Payment
                                                  If recipient is an individual,
                                                                                 Foundation
                    Recipient                       show any relationship to                  Purpose of grant or
                                                                                  status of                                   Amount
                                                     any foundation manager                      contribution
                                                    or substantial contributor    recipient
      Name and address (home or business)

  a Paid during the year




      Total.....................................................................................................3ab

  b Approved for future payment




      Total ................................................................................................        3 b

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*mt*V *@ Analysis of Income-Producing Activities
Enter gross amounts unless otherwise indicated.                      Unrelated business income         Excluded by section 512, 513, or 514
                                                                                                                                                     (e)
                                                                      (a) ' (b) (c) (d) Related or exempt
                                                                    Business         Amount            Exclu-            Amount                function income
                                                                     code                                  sion
                                                                                                                                              (See instructions.)
  1 Program service revenue:                                                                           code

    a


    b

    C


    d

    e


    f

    g Fees and contracts from government agencies. .
  2 Membership dues and assessments.
  3 Interest on savings and temporary cash investments.......                                                14      2,777.
  4 Dividends and interest from securities.
                                                                                                             14 12,997.
  5 Net rental income or (loss) from real estate:                                                                                               64 +3=13 *74

    a Debt-financed property........................
    b Not debt-financed property....................
  6 Net rental income or (loss) from pehonal property........
  7 Other investment income..................

  8 Gain or (loss) from sales of assets other than inventory.....                                                                                      10,789.
  9 Net income or (loss) from special events......
 10 Gross profit or (loss) from sales of inventory....
                                                                                              4 1% >41",
 11 Other revenue:

   a


    b

   C


   d

   e


 12 Subtotal. Add columns (b), (d), and (e)......... * 1                                                                      15,774.                  10,789.
 13 Total. Add line 12, columns (b), (d), and (e)............................................................ 13                                       26,563.
(See worksheet in line 13 instructions to verify calculations.)

                   Relationship of Activities to the Accomplishment of Exempt Purposes
 Line No. Explain below how each activity for which income is reported in column (e) of Part XVI-A contributed importantly to the
    V accomplishment of the foundation's exempt purposes (other than by providing funds for such purposes). (See instructions.)

   N/A




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N¢0001* Information Regarding Transfers to and Transactions and Relationships With Noncharitable
                 Exempt Organizations
                                                                                                                                                                       *1 ** Yes No
 1 Did the organization directly or indirectly engage in any of the following with any other organization                                                              t}.I » ...I :
       described in section 501(c) (other than section 501(c)(3) organizations) or in section 527,
       relating to political organizations?

   a Transfers from the reporting foundation to a noncharitable.exempt organization of:                                                                                9249 20% E. :5&
       (1) Cash.....                                                                                                                                                  1 a (1) X
       (2)Other assets .                                                                                                                                              1 a (2) X
   b Other transactions:
                                                                                                                                                                     2.1 1 1 6& 42 B

       (1) Sales of assets to a noncharitable exempt organization.                                                                                                    1 b (1) X
       (2) Purchases of assets from a noncharitable exempt organization..............................,                                                                1 b 0 X
       (3)Rental of facilities, equipment, orother assets.                                                                                                            1 b (3) X
       (4)Reimbursement arrangements.                                                                                                                                 1 b (4) X
       (5)Loans orloan guarantees...... ............................................................                                                                  1 b (5) X
       (6) Performance of services or membership or fundraising solicitations.                                                                                        1 b(6) X
   c Sharing of facilities, equipment, mailing lists, other assets, or paid employees......                                                                              1       c      X


   d If the answer to any of the above is 'Yes,' complete the following schedule. Column (b) should always show the fair market value of
       the goods, other assets, or services given by the reporting foundation. If the foundation received less than fair market value in
       any transaction or sharing arrangement, show in column (d) the value of the goods, other assets, or services received.
(a) Line no.      (b) Amount involved             (c) Name of noncharitable exempt organization                  (d) Description of transfers, transactions, and sharing arrangements

N/A




 2 a Is the foundation directly or indirectly affiliated with, or related to, one or more tax-exempt organizations
       described in section 501(c) (other than sectibn 501(c)(3)) or in section 527?......................................... Yes ®No
   b If 'Yes,' complete the following schedule.

               (a) Name of organization                                  (b) Type of organization                                     (c) Description of relationship
N/A




         Under penalties of perjury, 1 declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is true,
         correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.

Sign                                                                                                                                                                   May the IRS discuss
                                                                                                                                                                       this return with the
Here                                                   *               1                                           PRESIDENT                                           preparer shown below?
                                                                                                                                                                       See ioskuctions
           Signature of officer or trustee                                           Date                         Title
                                                                                                                                                                             |X|Yes E--1 No
                   Print/Type preparer's name                           Preparer's signature
                                                                                                                          Date | Check
                                                                                                                                 | PTINif


Paid              CHARLENE R SMITH, CPA                                 CHARLENE R SMITH, CPA 6/30/21                                         self-employed         P00237963

Preparer           Firm's name         GRANT & SMITH, LLP                                                                                 Firm's EIN    XX-XXXXXXX

Use Only           Firm's address
                                       333 HEGENBERGER ROAD., SUITE 325
                                             OAKLAND, CA 94621                                                                            Phone no.       510-832-0257
BAA
                                                                                                                                                                    Form 990-PF (2020)




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2020                                  FEDERAL STATEMENTS                                                   PAGE 1

                                          SCHWARTZ FOUNDATION                                             XX-XXXXXXX




 STATEMENT 1

 FORM 990-PF, PART I, LINE 16A
 LEGAL FEES


                                                      (A)       (B)     NET             (C)        (D)
                                                   EXPENSES       INVESTMENT        ADJUSTED           CHARITABLE
                                                   PER BOOKS        INCOME      NET INCOME              PURPOSES


 LEGAL FEES................................... $       5,957.                       $    5,957.
                                       TOTAL $ 5,957. $                      0. $              0. $         5,957.




 STATEMENT 2
  FORM 990-PF, PART I, LINE 16B
 ACCOUNTING FEES


                                                      (A)       (B)     NET             (C)        (D)
                                                   EXPENSES       INVESTMENT        ADJUSTED           CHARITABLE
                                                   PER BOOKS        INCOME          NET INCOME          PURPOSES


 ACCOUNTING................................... $         925.                       $      925.
                                       TOTAL $           925. $              0. $               0. $          925.




  STATEMENT 3
  FORM 990-PF, PART I, LINE 16C
 OTHER PROFESSIONAL FEES


                                                      (A)       (B)     NET             (C)           (D)
                                                   EXPENSES       INVESTMENT         ADJUSTED          CHARITABLE
                                                   PER BOOKS        INCOME          NET INCOME          PURPOSES


 OUTSIDE CONTRACT SERVICES............. $              7,000.                       $    7,000.
                                       TOTAL $         7,000. $              0. $         0. $ 7,000.




  STATEMENT 4
  FORM 990-PF, PART I, LINE 18
 TAXES


                                                      (A)       (B)     NET             (C)            (D)
                                                   EXPENSES       INVESTMENT         ADJUSTED          CHARITABLE
                                                   PER BOOKS        INCOME          NET INCOME          PURPOSES


  FEDERAL                         TAX.......                    ........        $       63.        $      63.
  PAYROLL TAX EXPENSE. .....................           2,717.                                               2,717.
                                       TOTAL $         2,780. $              0. $               0. $        2,780.
                   Case 5:24-cv-04181 Document 1 Filed 07/11/24 Page 59 of 77

2020                                   FEDERAL STATEMENTS                                              PAGE 2

                                           SCHWARTZ FOUNDATION                                        XX-XXXXXXX




 STATEMENT 5
 FORM 990-PF, PART 1, LINE 23
 OTHER EXPENSES


                                                       (A)      (B)     NET              (C)        (D)
                                                  EXPENSES      INVESTMENT          ADJUSTED       CHARITABLE

                                                  PER BOOKS        INCOME          NET INCOME        PURPOSES


                                                 $       10.                       $        10.
 ADVERTISING..................................       2,989.                                             2,989.
 BANK CHARGES .                                          43.                                                  43.
 INSURANCE.............                                 853.                                              853.
 PAYROLL PROCESSING FEES.                            1,440.                                             1,440.
 SENIOR ENTERTAINMENT THERAPY ........               5,440.                                             5,440.
 SUPPLIES...                                            361.                                              361.
 WORKERS ' COMP . INSURANCE...... .......               602.                                              602.
                                        TOTAL $     11,738. $               0. $            0. $       11,738.




 STATEMENT 6
 FORM 990-PF, PART IX-A, LINE 3
 SUMMARY OF DIRECT CHARITABLE ACTIVITIES


                             DIRECT CHARITABLE ACTIVITIES                                          EXPENSES


 SENIOR ENTERTAINMENT THERAPY THROUGH MUSIC HELPS RENEW THE MEMORIES
 OF SENIOR CITIZENS AND STIMULATES BRAIN FUNCTIONS THUS PROVIDING MORE
 SOCIAL AND PHYSICAL ACTIVITY THROUGH SINGING AND DANCING.
 PERFORMANCES WERE PROVIDED TO 23 RETIREMENT HOMES.




 STATEMENT 7
 FORM 990-PF, PART XV, LINE 2A-D
 APPLICATION SUBMISSION INFORMATION


 NAME OF GRANT PROGRAM:
 NAME:                              DEBBRA WOOD SCHWARTZ
 CARE OF:
 STREET ADDRESS:                     7711 OAKPORT ST.

 CITY, STATE, ZIP CODE:             OAKLAND, CA 94621
 TELEPHONE:                          510-562-5000
 E-MAIL ADDRESS:
 FORM AND CONTENT:                  WRITTEN PROGRAM DESCRIPTION
 SUBMISSION DEADLINES:              NONE
 RESTRICTIONS ON AWARDS:            NONE
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                     EXHIBIT 5
    STATE OF CALIFORNIA
    ARF-1
                                              Case 5:24-cv-04181 Document 1 Filed 07/11/24 Page 61 of 77                                                       DEPARTMENT OF JUSTICE

    (Rev. 02/2021)                                                                                                                                                         PAGE 1 of 5
     IN


     MAIL TO:                                                                                                                                                (For Registry Use Only)
     Registry of Charitable Trusts                ANNUAL REGISTRATION RENEWAL FEE REPORT
     P.O. Box 903447

     Sacramento, CA 94203-4470                           TO ATTORN EY GENERAL OF CALIFORNIA

     STREET ADDRESS:
                                                               Sections 12586 and 12587, California Government Code                                            RECEIVED
     1300 I Street
     Sacramento, CA 95814
                                                               11 Cal. Code Regs. sections 301-306, 309, 311, and 312
                                                                                                                                                     Attorney General's Office
                                                   Failure to submit this report annually no later than four months and fifteen days after the end of the
     (916) 210-6400
                                                    organization's accounting period may result in the loss of tax exemption and the assessment of a
     WEBSITE ADDRESS:                                minimum tax of $800, plus interest, and/or fines or filing penalties. Revenue & Taxation Code section
                                                                23703; Government Code section 12586.1. IRS extensions will be honored.
                                                                                                                                                              OCT 0 4 2022
     www-oagicaigo™harities

                                                                                                                   Check if:

     SCHWARTZ FOUNDATION
                                                                                                                                                     Registrv of Charitable Trusts
     Name of Organization
                                                                                                                   El Change of address
                                                                                                                   1-1



                                                                                                                    J Amended report
     List all DBAs and names the organization uses or has used


     14665 WASHINGTON AVENUE #26                                                                                  State Charity Registration Number 039637
     Address (Number and Street)


     SAN LEANDRO, CA 94578                                                                                        Corporation or Organization No. 0967388
     City or Town, State, and ZIP Code

     510-638-9100
     Telephone Number                                     E-mail Address                                          Federal Employer ID No. XX-XXXXXXX

                                       ANNUAL REGISTRATION RENEWAL FEE SCHEDULE (11 Cal. Code Regs. sections 301-307, 311, and 312)
                                                                       Make Check Payable to Department of Justice

     Igtal-Renue                                            Eec Ietal_Reenue                                                Ene Igta[-Reenue                                        EEC

     Less than $50,000                                       $25 Between $250,001 and $1 million                             $100 Between $20,000,001 and $100 million $800
     Between $50,000 and $100,000                            $50 Between $1,000,001 and $5 million                           $200 Between $100,000,001 and $500 million $1,000
     Between $100,001 and $250,000                           $75 Between $5,000,001 and $20 million                          MOO Greater than $500 million                          $1,200


     PART A - ACTIVITIES

               For your most recent full accounting period (beginning                             1/01/21                ending           12/31/21 ) list:

          Total Revenue $
          (including noncash contributions)               95,030. Noncash Contributions $                                                 0. Total Assets $               8,376,946.


                                    Program Expenses $                      457,502.                             Total Expenses $                      457,302.



     PART B - STATEMENTS REGARDING ORGANIZATION DURING THE PERIOD OF THIS REPORT
     Note: All questions must be answered. If you answer yes' to any of the questions below, you must attach a separate page
providing an explanation and details for each Yes- response. Please review RRF-1 instructions for information required.                                                          Yes     No


     1 During this reporting period, were there any contracts, loans, leases or other financial transactions between the organization and any
       officer, director or trustee thereof, either directly or with an entity in which any such officer, director or trustee had any financial interest?                        0®

     2 During this reporting period, was there any theft, embezzlement, diversion or misuse of the organization's char table property or funds? Il ®

     3 During this reporting period, were any organization funds used to pay any penalty, fine or judgment?                                                                      ng

     4 During this reporting
       coventurer  used?     period, were the services of a commercial fundraiser, fundraising counel for chiREOE'itticommercial
     5 During this reporting period, did the organization receive any governmental funding?
                                                                                                                            Attorney General's Office
                                                                                                                                        OCT 0 4 2022
     6 During this reporting period, did the organization hold a raffle for charitable purposes?                                                                                 0®

     7 Does the organization conduct a vehicle donation program?
                                                                                                                           Registrv of Charitable Trusts
     8 Did the organization conduct an independent audit and prepare audited financial statements in accordance with
       generally accepted accounting principles for this reporting period?


     9 At the end of this reporting period, did the organization hold restricted net assets, while reporting negative unrestricted net assets?

     I declare under penalty of perjury that I have examined this report, including accompanying documents, and to the best of my knowledge
     and belief, the content is true, correct and complete, and I am authorized to sign.



                 I RAA -                                     MARGOT SCHWARTZ                                      PRESIDENT                         9 1 2% /11
     Signature of Auth#izeil Afit                            Printed Name                                        Title                                             Date



                                                                                          CAEA9801 L 01/26/22




                                                 11 01,5 4 00
                                 Case 5:24-cv-04181 Document 1 Filed 07/11/24 Page 62 of 77

Form    8868
                                                                                                                                              OMB No. 1545-0047
(Rev. January 2022)

Department of the Treasury
                                                                   File a separate application for each return.
Internal Revenue Service                                 * Go to www.irs.gov/Form8868 tor the latest information.


Electronic filing (e-file). You can electronically file Form 8868 to request a 6-month automatic extension of time to file any of the forms listed
below with the exception of Form 8870, Information Return for Transfers Associated With Certain Personal Benefit Contracts, for which an
extension request must be sent to the IRS in paper format (see instructions). For more details on the electronic filing of this form, visit
www.irs.gov/e-file-providers/e-file-for-charities-and-non-profits.

Automatic 6-Month Extension of Time. Only submit original (no copies needed).
All corporations required to file an income tax return other than Form 990-T (including 1 120-C filers), partnerships, REMICs, and trusts must
use Form 7004 to request an extension of time to file income tax returns.
                 Name of exempt organization or other filer, see instructions.                                                    Taxpayer identification number (TIN)

Type or
print
                 SCHWARTZ FOUNDATION                                                                                              XX-XXXXXXX
                 Number, street, and room or suite number. If a P.O. box, see instructions.
File by the
due date for

filing your      14665 WASHINGTON AVENUE #26
return. See
                 City, town or post office, state, and ZIP code. For a foreign address, see instructions.
instructions.

                 SAN LEANDRO, CA 94578

Enter the Return Code for the return that this application is for (file a separate application for each return) .

Application                                                                           Return        Application                                               Return
Is For                                                                                 Code         Is For                                                     Code

Form 990 or Form 990-EZ                                                                  01                 Form      1041-A                           08
Form 4720 (individual)                                                                   03 Form 4720 (other than individual) 09
Form 990-PF
                                                                                         04                 Form           5227                      10
Form 990-T (section 401 (a) or 408(a) trust)                                             05                 Form           6069                      11

Form 990-T (trust other than above)                                                      06                 Form           8870                      12
Form 990-T (corporation)                                                                 07




• The books are in the care of • -SCH¥*EG_ EQIJ#DATION- .
     Telephone No. • 510-638-9100                                                       Fax No. •
                             -----------------



• If the organization does not have an office or place of business in the United States, check this box.................................- n
                                                                                                            ------i---------




• If this is for a Group Return, enter the organization's four digit Group Exemption Number (GEN) . If this is for the whole group,
     check this box..... - . If it is for part of the group, check this box... - |and attach a list with the names and TINs of all members
     the extension is for.


   1 I request an automatic 6-month extension of time until
                                                                                 11-41-5 , 20 22 , to file the exempt organization return
        for the organization named above. The extension is for the org€;Aizatin's return for:
        • ® calendar year 2021 or
      • El tax year beginning , 20 , and ending , 20
                                                ------I                  -                                           ---




  2 If the tax year entered in line 1 is for less than 12 months, check reason: Initial return                             El Final return
          j Change in accounting period

  3 a I f this application is for Forms 990-PF, 990-T, 4720, or 6069, enter the tentative tax, less any
        nonrefundable credits. See instructions...............................................................                      3a$                         200.

     b If this application is for Forms 990-PF, 990-T, 4720, or 6069, enter any refundable credits and estimated
        tax payments made. Include any prior year overpayment allowed as a credit............................                       3         b$              0.

     c Balance due. Subtract line 3b from line 3a. Include your payment with this form, if required, by using
       EFTPS (Electronic Federal Tax Payment System). See instructions.                                                             3c$                         200.

Caution: If you are going to make an electronic funds withdrawal (direct debit) with this Form 8868, see Form 8453-TE and Form 8879-TE for
payment instructions.

BAA For Privacy Act and Paperwork Reduction Act Notice, see instructions.                                                               Form 8868 (Rev. 1 -2022)




                                                                                      FIFZ0501 L 10/28/21
                                      Case 5:24-cv-04181 Document 1 Filed 07/11/24 Page 63 of 77

Form   990-PF                                                                                                                                                 OMB No. 1545-0047




                                                                                                                                                                 2021
Department of the Treasury
                                                  • Do not enter social security numbers on this form as it may be made public.
Internal Revenue Service •                              Go to www.irs.gov/Form990PFfor instructions and the latest information.                          Open to Public Inspection
For calendar year 2021 or tax year beginning , 2021, and ending ,20
                                                                                                                             A Employer identification number
SCHWARTZ FOUNDATION                                                                                                                  XX-XXXXXXX
14665 WASHINGTON AVENUE #26                                                                                                  B Telephone number (see instructions)

SAN LEANDRO, CA 94578                                                                                                                510-638-9100


                                                                                                                             C If exemption application is pending, check here. • [
 i Check all that apply: _ Initial return _ Initial return of a former public charity
                                               Final return                          Amended return
                                                                                                                             D 1 Foreign organizations, check here...........-
                                               Address change                        Name change                                2 Foreign organizations meeting the 85% test, check

    Check type of organization:           - - here and attach computation...............• ID
                                               ® Section 501(c)(3) exempt private foundation
       Il Section 4947(a)(1) nonexempt charitable trust n Other taxable private foundation E If private foundation status was terminated
                                             J Accounting method: ®Cash LI Accrual
    Fair market value of all assets at end of year                                                     under section 507(b)(1)(A), check here . . . . ... •
    (from Part Il, column (c), line 16)
                                                 U Other (specify) _ _ F If the foundation is in a 60-month termination rn
    .$ 8,977,109.                                                      (Part I, column (d), musTE@ En-cish 63§Ts-5 -                under section 507(b)(1 XB), check here ....... - LI
            Analysis of Revenue and                                                                                                                            (d) Disbursements
            Expenses (The total of amounts in                                         (a) Revenue and     (b) Net investment         (c) Adj usted net            for charitable
            columns (b), (c), and (d) may not                                        expenses per books        income                     income
                                                                                                                                                                     purposes
            necessarily equal the amounts in                                                                                                                    (cash basis only)
            column (a) (see instructions).)
            1 Contributions, gifts, grants, etc.,received (attach schedule) .                 80,628.
            2 Check •
                             LJ if the foundation is not required to attach Sch. B
            3 Interest on savings and temporary cash investments                                   788.                 788.                        788.
            4 Dividends and interest from securities
                                                                                              13,614.              13,614.                    13,614.
            5 a Gross rents
              b Net rental income
                or (loss)
            6 a Net gain or Ooss) from sale of assets not on line 10
              b Gross sales price for all
                  assets on line 6a

                 Capital gain net income (from Part IV, line 2)

                 Net short-term capital gain
            D Income modifications

          10 a Gross sales less 1
                 returns and 1
                 allowances......

              b Less: Cost of
                 goods sold......
              c Gross profit or (loss) (attach schedule) .

          11 Other income (attach schedule).




          12 Total. Add lineslthroughll...............                                        95,030.              14,402.                    14.402.«17-7777
          13 Compensation of officers, directors, trustees, etc. 0.
          14 Other employee salaries and wagea..........                                     43,000.                                                                      43,000.
          15 Pension plans, employee benefits . . . . . . . . . . . .
          16a Legal fees (attach schedule). . . .SEE. .ST . 1                               325,851.                                                                    325,851.
              b Accounting fees (attach sch). . . .SEE..ST.2
                                                                                               1,175.                                                                       1,175.
              C Other professional fees (attach sch) .SEE..ST.3                                3,782.                                                                       3,782.
          17 Interest,,,,,,......,..........

          18 Taxes (attach schedu lexsee i nstrs) , . SEE.STM,4                                3,903.                                                                       3,903.
          19 Depreciation (attach
                 schedule) and depletion.

          20 Occupancy.,,.,.,,,,,......,,,........                                                 519.                                                                         519.
          21 Travel, conferences, and meetings........,..
          22 Printing and publications..................

          23 Other expenses (attach schedule)

                                         SEE STATEMENT 5                                     74,072.                                                                      74,072.
          24 Total operating and administrative
                 expenses. Add lines 13 through 23.                                         452,302.                                                                    452,302.
          25 Contributions, gifts, grants paid. . PART..XIV
                                                                                               5,000.                                                                       5,000.
          26 Total expenses and disbursements.
                 Add lines 24 and 25.
                                                                                            457,302.                        0.         0.         457,302.
          27 Subtract line 26 from line 12.

              a Excess of revenue over expenses
                 and disbursements
                                                                                          -362,272.
              b Net investment income (if negative, enter -0-)                                                     14,402.
              C Adjusted net income Of negative, enter -0-)                                                                                   14,402.
BAA For Paperwork Reduction Act Notice, see instructions.                                                     TEEA0301 L 09/02/21                              Form 990-PF (2021)
                             Case 5:24-cv-04181 Document 1 Filed 07/11/24 Page 64 of 77
Form 990-PF (2021) SCHWARTZ FOUNDATION                                                                                     XX-XXXXXXX              Page 2
                                      Attached schedules and amounts in the description       Beginning of year               End of year
Part I Balance Sheets                 column should be for end-of-year amounts only.
                                      (See instructions.)                                      (a) Book Value     (b) Book Value    (c) Fair Market Value
        1 Cash-non-interest-bearing............,...................
       2 Savings and temporary cash investments.                                                 8,080,008.         7,717,736.              7,717,536.
       3 Accounts receivable. ............... I
                                                                            ------

            Less: allowance for doubtful accounts •
                                                                         --------


       4 Pledges receivable................. •
                                                               -----------

            Less: allowance for doubtful accounts •
                                                                  ----------

       5 Grants receivable .

       6 Receivables due from officers, directors, trustees, and other
           disqualified persons (attach schedule) (see instructions).

       7 Other notes and loans receivable (attach sell).. -
                                                                  ----------

            Less: allowance for doubtful accounts •
                                                                  ----------

       8 Inventories for sale or use.

       9 Prepaid expenses and deferred charges.,...................
      10 a Investments - U.S. and state government
           obligations (attach schedule)................................
         b Investments - corporate stock (attach schedule).                                          659,210.          659,210.             1,259,573.
         c Investments - corporate bonds (attach schedule)......................
      11 Investments - land, buildings, and
           equipment: basis.................. -
                                                                    ---------


           Less: accumulated depreciation
           (attach schedule)..,,,,................
                                                                 ----------


      12 Investments-mortgage loans.
      13 Investments - other (attach schedule)......................
      14 Land, buildings, and equipment: basis •
                                                                 ----------

           Less: accumulated depreciation
           (attach schedule).......,.............. •
                                                                 ----------


      15 Other assets (describe • . )
      16 Total assets (to be comp 1@tid--bii ill-Tilers Z
           see the instructions. Also, see page 1, item I)                                       8,739,218.         8,376,946.              8,977,109.
      17 Accounts payable and accrued expenses....................
      18 Grants payable.
      19 Deferred revenue .

      20 Loans from officers, directors, trustees, & other disqualified persons,,,.....
      21 Mortgages and other notes payable (attach schedule)...................
      22 Other liabilities (describe                                                      )
                                              ----------------




      23 Total liabilities (add lines 17 through 22) .................... 0.0.

           Foundations that follow FASS ASC 958, check here ,
           and complete lines 24,25,29, and 30.

      24 Net assets without donor restrictions........................
                                                                                                 8,739,218.         8,376,946.


E 25 Net assets with donor restrictions.,,,,,,,,,.,........,,.,,,,
116
           Foundations that do not follow FASB ASC 958, check here [J                                                              I
           and complete lines 26 through 30.
 B
      26 Capital stock, trust principal, or current funds................

' 27 Paid-in or capital surplus, or land, bldg., and equipment fund.
 28 Retained earnings, accumulated income, endowment, or other funds. ,,,,,,,,
                                                                                                 8,739,218.
 29 Total net assets or fund balances (see instructions).........
                                                                                                                    8,376,946.
      30 Total liabilities and net assets/fund balances
           (see instructions)..........................................                          8,739,218.         8,376,946.
Part It I Analysis of Changes in Net Assets or Fund Balances
 1 Total net assets or fund balances at beginning of year - Part 11, column (a), line 29 (must agree with
     end-of-year figure reported onprior year's return).,,..,,,,,,,,,,,,,,...,,.............,,,,,,.,,,,,,,,,.,,, 1 8,739,218.
     Enter amount from Partl, line 27a...................................................................... 2 -362,272.
     Other increases not included in line 2 (itemize) - 3
                                                            -------------------------------


     Add lines 1,2, and 3................................................................................... 4 8,376,946.
     Decreases not included in line 2 (itemize) b 5
                                                  ------------------------------i----


     Total net assets or fund balances at end of year (line 4 minus line 5) - Part 11, column (b), line 29.......... 6 8,376,946.
                                                                            TEEA0302L 09/02/21                                        Form 990-PF (2021)
                                 Case 5:24-cv-04181 Document 1 Filed 07/11/24 Page 65 of 77
Form 990-PF (2021) SCHWARTZ FOUNDATION                                                                                             XX-XXXXXXX                          Page 3

Part IV Capital Gains and Losses for Tax on Investment Income
                    (a) List and describe the kind(s) of property sold (for example, real estate,                (b) How acquired (C) Date acquired         (d) Date sold
                                                                                                                  P - Purchase          (mo., day, yr.)      (mo., day, yr.)
                           2-story brick warehouse; or common stock, 200 shs. MLC Co.)                             D - Donation


 1 a N/A
   b

   C


   d

   e



         (e) Gross sales price                   (f) Depreciation allowed                (g) Cost or other basis                          (11) Gain or (loss)
                                                      (or allowable)                      plus expense of sale                          ((e) plus (f) minus (g))

   a


   b

   C


   d

   e


       Complete only for assets showing gain in column (h) and owned by the foundation on 1 2/31/69.                                      (1) Gains (Col. (h)
         (i) FMV as of 12/31/69                     0) Adjusted basis                   (k) Excess of col. (i)                     gain minus col. (k), but not less
                                                      as of 12/31/69                      over col. 0), if any                    than -0-) or Losses (from col. (h))

   a


   b

   C


   d

   e



                                                        E-If gain, also enter in Part I, line 7
 2 Capital gain net income or (net capital loss)..... -4
                                                                  Llf (loss), enter -0- in Part 1, line 7 - 2
 3 Net short-term capital gain or (loss) as defined in sections 1222(5) and (6)

       in Part l, line 8.............................................................,,,,,, - 3
       If gain, also enter in Part I, line 8, column (c). See instructions. If (loss), enter -0-


Ratt V I Excise Tax Based on Investment Income (Section 4940(a),4940(b),or 4948 - see instructions)

 la Exempt operating foundations described in section 4940(d)(2), check here .,,,,,•L and enter 'N/A' on line 1. -
       Date of ruling or determination letter:                (attach copy of letter if necessary - see instructions)

   b All other domestic foundations enter 1.39% (0,0139) of line 27b. Exempt foreign organizations, enter - 1                                                          200.
       4% (0.04) of Partl, line 12, col. (b)..............................................................

 2 Tax under section 511 (domestic section 4947(a)(1) trusts and taxable
    foundations only; others, enter -0-) ...................................................................... 2 0.
 3 Addlinesland2...................................................................................... 3 200.
 4 Subtitle A (income) tax (domestic section 4947(a)(1) trusts and taxable foundations only; others, enter -0-).. 4 0.
 5 Tax based on investment income. Subtract line 4 from line 3, If zero or less, enter -0.,,,................... 5 200.
 6 Credits/Payments:

   a 2021 estimated tax pymts and 2020 overpayment credited to 2021............................ 6 a

   b Exempt foreign organizations - tax withheld at source........................                   6b

   c Tax paid with application for extension of time to file (Form 8868).............. 6c
   d Backup withholding erroneously withheld. .....................................                  6d

 7 Total credits and payments. Add lines 6athrough 6d..................................................... 7 0.

 8 Enter any penalty for underpayment of estimated tax. Check here if Form 2220 is attached............. 8
 9 Tax due. If the total of lines 5 and 8 is more than line 7, enter amount owed ........................................... - 9                                       200.

10 Overpayment. If line 7 is more than the total of lines 5 and 8, enter theamount overpaid.,.......,,,..,,,,..,,,....,,,..,, - 10
11 Enter the amount of line 10 to be: Credited to 2022 estimated tax -                                    Refunded                    11

BAA                                                                                                                                                Form 990-PF (2021)




                                                                         TEEA0303L 09/02/21
                             Case 5:24-cv-04181 Document 1 Filed 07/11/24 Page 66 of 77
Form 990-PF (2021) SCHWARTZ FOUNDATION                                                                                            XX-XXXXXXX                    Page 4

[{Part VIAA 1 Statements Regardi ng Activities
                                                                                                                                                         Yes No
  1 a During the tax year, did the foundation attempt to influence any national, state, or local legislation or did it
      participate or intervene in any political campaign?...................................................................                        la          X

    b Did it spend more than $100 during the year (either directly or indirectly) for political purposes?
      See the instructions forthe definition .                                                                                                      1 b X

      If the answer is 'Yes' to la or lb, attach a detailed description of the activities and copies of any materials published
      or distributed by the foundation in connection with the activities.

    c Did the foundation file Form 1120-POL forthis year?...................................................                                        1 c X
    d Enter the amount (if any) of tax on political expenditures (section 4955) imposed during the year:
      (1) On the foundation • $                                     0. (2) On foundation managers - $                                        0.
    e Enter the reimbursement (if any) paid by the toundation during the year for political expenditure tax imposed on
      foundation managers • $ 0.
  2 Has the foundation engaged in any activities that have not previously been reported to the IRS?..........                                       2           X
      If 'Yes,' attach a detailed description of the activities.

  3 Has the foundation made any changes, not previously reported to the IRS, in its governing instrument, articles
     of incorporation, or bylaws, or other similar instruments? If 'Yes,' attach a conformed copy of the changes,,.,..,,,..... 3 X
  4 a Did the foundation have unrelated business gross income of $1,000 or more during the year?.......................... 48 X
    blf 'Yes,' has it filedatax return on Form 990-T forthis year?.                                                                                 4b

  5 Was there a liquidation, termination, dissolution, or substantial contraction during the year?,,,.,...............,,.,,,,,,,,,,,............. 5 X
      If 'Yes,' attach the statement required by Genera/ /nstruction T.
  6 Are the requirements of section 508(e) (relating to sections 4941 through 4945) satisfied either:
      0 By language in the governing instrument, or

      0 By state legislation that effectively amends the governing instrument so that no mandatory d rections that conflict
        with the state law remain in the governing instrument?............................................................. 6 X
  7 Did the foundation have at least $5,000 in assets at any time duringtheyear? If 'Yes,' complete Part ll, col. (c), and Part XIV...................... 7 X
  8 a Enter the states to which the foundation reports or with which it is registered. See instructions -
        CA

   b If the answer is 'Yes' to line 7, has the foundation furnished a copy of Form 990-PF to the Attorney General
      (or designate) of each state as required by General /nstruction G, If 'No,' attach explanation............................................... 8b X

  9 Is the foundation claiming status as a private operating foundation within the meaning of section 49420)(3) or 49420)(5)
      for calendar year 2021 or the tax year beginning in 2021? See the instructions for Part XIII. If 'Yes,' complete Part XIII .. 9 X

 10 Did any persons become substantial contributors during the tax year? If 'Yes,' attach a schedule listing their names
      and addresses.................................................................................................... 10 X
11 At any time during the year, did the foundation, directly or indirectly, own a controlled entity
    within the meaning of section 512(b)(13)? If 'Yes,' attach schedule. See instructions................................... 11 X

12 Did the foundation make a distribution to a donor advised fund over which the foundation or a disqualified person had
      advisory privileges? If 'Yes,' attach statement. See instructions....................................................... 12 X

13 Did the foundation comply with the public inspection requirements for its annual returns and exemption application?..... 13 X
      Website address............................... • B.ADS-CHWABIZFDUNPATIONi-QRS_______-__________-- - _
14 The books are in care of • -SQHN8RT-z- 53JNDA-T-IQN---_-_--_---___ Telephone no. - -510---63-8.--91-0-0____
      Located at J.3 66-5-_1?14-S-BI-NG-TO-N- 873 - -12-6 -SAN -L-E-*11289 33_                                  ZIP +4•           -94_5-7-8___________

15 Section 4947(a)(1) nonexempt charitable trusts filing Form 990-PF in lieu of Form 164ii - check here .,,,,,,,,,,,,,,,,,.NIA,, - El
    and enter the amount of tax-exempt interest received or accrued during the year.........................•| 15 |               N/A
                                                                                                                                                         Yes      No
16 At any time during calendar year 2021, did the foundation have an interest in or a signature or other authority over a
      bank, securities, orother financial account ina foreign country?...................................................... 16 X

      See the instructions for exceptions and filing requirements for FinCEN Form 114. If 'Yes,'
      enter the name of the foreign country •

BAA                                                                                                                                           Form 990-PF (2021)




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Pan ¥14 B Statements Regarding Activities for Which Form 4720 May Be Required
      File Form 4720 if any item is checked in the 'Yes' column, unless an exception applies.                                         Yes   No

 1 a During the year, did the foundation (either directly or indirectly):

      Cl) Engage in the sale or exchange, or leasing of property with a disqualified person?................................ larl: X
      (2) Borrow money from, lend money to, or otherwise extend credit to (or accept it from) a
          disqualified person?........................................................................................... la(2; X
      (3) Furnish goods, services, or facilities to (or accept them from) a disqualified person? .............................. 1 a(* X
      (4) Pay compensation to, or pay or reimburse the expenses of, a disqualified person?................................ 1 8(4: X

      (5) Transfer any income or assets to a disqualified person (or make any of either available
          for the benefit oruse of adisqualified person)?..................................................................la(5] X

      (6) Agree to pay money or property to a government official? (Exception. Check 'No' if the
          foundation agreed to make a grant to or to employ the official for a period after termination
          of government service, if terminating within 90 days.)                                                             la (62 X

  b I f any answer is 'Yes' to la(1)-0), did any of the acts fail to qualify under the exceptions described in
      Regulations section 53.4941(d)-/ or in a current notice regarding disaster assistance? See instructions ................. 1 b

  c Organizations relying on a current notice regarding disaster assistance, check here.........................- I
  d Did the foundation engage in a prior year in any of the acts described in 1 a, other than excepted acts,
    that were not corrected before the first day of the tax year beginning in 2021? .                                            ld     X

 2 Taxes on failure to distribute income (section 4942) (does not apply for years the foundation was a
      private operating foundation defined in section 49420)(3) or 49420)(5)):

  a At the end of tax year 2021, did the foundation have any undistributed income (Part XII, lines 6d and 6e) for
      tax year(s) beginning before 2021 ? ................................................................................. 2 a X

      If 'Yes,' list the years • 20 ,20__ ,20__,20__
  b Are there any years listed in 2a for which the foundation is not applying the provisions of section 4942(a)(2)
      (relating to incorrect valuation of assets) to the year's undistributed income? (If applying section 4942(a)(2) to
      all years listed, answer'No' and attach statement -see instructions.) .                                                    2b

  c If the provisions of section 4942(a)(2) are being applied to any of the years listed in 2a, list the years here.
      I 20
                  ,20__,20 , 20
 3 a Did the foundation hold more than a 2% direct or indirect interest in any business
     enterprise atany time during the year? .                                                                                    3a         X


  b If 'Yes,' did it have excess business holdings in 2021 as a result of (1) any purchase by the foundation
    or disqualified persons after May 26, 1969; (2) the lapse of the 5-year period (or longer period approved
    by the Commissioner under section 4943(c)(7)) to dispose of holdings acquired by gift or bequest; or
    (3) the lapse of the 10-, 15-, or 20-year first phase holding period? (Use Form 4720, Schedule C, to
    determine if the foundation had excess business holdings in 2021.)...................................................        3b


 4 a Did the foundation invest during the year any amount in a manner that would jeopardize its
     charitable purposes?............................................................................................... 4a X


  b Did the foundation make any investment in a prior year (but after December 31, 1969) that could
    jeopardize its charitable purpose that had not been removed from jeopardy before the first day of
    the tax year beginning in 2021?.                                                                                             4 b X
BAA                                                                                                                        Form 990-PF (2021)




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Part V -B ! Statements Regarding Activities for Which Form 4720 May Be Required (continued)
 5 a During the year, did the foundation pay or incur any amount to:                                                                          Yes No


      Cl) Carry on propaganda, orotherwise attempt to influence legislation (section 4945(e))?..........................,.. 3 a(1) X
      (2) Influence the outcome of any specific public election (see section 4955); or to carry
           on, directly orindirectly, any voter registration drive?............................................................ 3 a (21 X
      (3) Provideagrant toan individual for travel, study, orother similar purposes? ...................................... la(31 X
      (4) Provide a grant to an organization other than a charitable, etc., organization described
          insection 4945(d)(4)(A)? See instructions....................................................................... 5 a(41 X

      (5) Provide for any purpose other than religious, charitable, scientific, literary, or
          educational purposes, or for the prevention of cruelty to children or animals?...................................... la (51 X

   b If any answer is 'Yes' to 5a(1)-(5), did any of the transactions fail to qualify under the exceptions
     described in Regulations section 53.4945 or in a current notice regarding disaster assistance?
      See instructions.                                                                                                                  5b     N/A

      Organizations relying on a current notice regarding disaster assistance, check here......................... El
   c If the answer is 'Yes' to question 5a(4), does the foundation claim exemption from the
      tax because it maintained expenditure responsibility for the grant?.............................................N/A., 5d
      If 'Yes,' attach the statement required by Regulations section 53.4945-5(d).

 6 a Did the foundation, during the year, receive any funds, directly or indirectly, to pay premiums
      ona personal benefit contract?.                                                                                                    6a       X
   b Did the foundation, during the year, pay premiums, directly or indirectly, on a personal benefit contract? ................ 6 b X
      If 'Yes' to 6b, file Form 8870.

 7 a At any time during the tax year, was the foundation a party to a prohibited tax shelter transaction? ..................... 7 a X
   blf 'Yes,' did the foundation receive any proceeds or have any net income attributable to the transaction?.........,N·/A · 7b
 8 Is the foundation subject to the section 4960 tax on payment(s) of more than $1 ,000,000 in remuneration
      orexcess parachute payment(s) during the year?.................................................................... 8 X

Part VII Information About Officers, Directors, Trustees, Foundation Managers, Highly Paid Employees,
               and Contractors
 1 List all officers, directors, trustees, and foundation managers and their compensation. See instructions.
                                                         (b) Title, and average     (c)Compensation      (d)Contributions to
                                                              hours per week                               employee benefit
                                                                                                                                   (e) Expense account,
               (a) Name and address                                                      (If not paid,                                other allowances
                                                           devoted to position            enter -0-)      plans and deferred
                                                                                                             compensation

-NONL23¥*BIL-_                                          TREASURER/SEC                                                          0.       0.       0.
-282-2- HIL-LE-GA-SS -AYE ._--3-3_33_ 1.00
BERKELEY, CA 94705

-MARGOT -S-CH-WABIZ- _                                  PRESIDENT                                                     0.            0.         0.

282.2- HI-L-LE-GA-SS -AVE._______3__ 2.00
BERKELEY, CA 94705




 2 Compensation of five highest-paid employees (other than those included on line 1 - see instructio is). If none, enter 'NONE.'
      (a) Name and address of each employee              (b) Title, and average                          (d)Contributions to       (e) Expense account,
                                                                                    (c) Compensation       employee benefit
               paid more than $50,000                        hours per week                                                           other allowances
                                                                                                          plans and deferred
                                                            devoted to position                              compensation

NQNE_




Total number of other employees paid over $50,000..............................................................                                       0
BAA                                                                 TEEA0306L 09/02/21                                              Form 990-PF (2021)
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Part /1 Information About Officers, Directors, Trustees, Foundation Managers, Highly Paid Employees,
                  and Contractors (continued)

  3 Five highest-paid independent contractors for professional services. See instructions. If none, enter'NONE.'
            (a) Name and address of each person paid more than $50,000                                                   (b) Type of service                 (c) Compensation
NONE




Total number of others receiving over $50,000 for professional services............................................                                                             0


Part Vill-A Summary of Direct Charitable Activities

List the foundation's four largest direct charitable activities during the tax year. Include relevant statistical information such as the number of
                                                                                                                                                                   Expenses
organizations and other beneficiaries served, conferences convened, research papers produced, etc.

  1 .SCHNNY-Z_ EQU-NDA-TION- PROVIDE-§-P-EE-R_BITORUNQ _IN]EQRMA-T.ION- -FOR--TEA-C*IERS_ __-
       MID-INEPITU-TIQNS-THAT_WNE -7-9-CRgATE-Qi IMPROVE- TH-E_ -]-F#B _TIJTQ-RUNG--__-
        PROGRESS IN THEIR SCHOOLS.                                                                                                                                   390,719.
  2 A WEBSITE ENTITLED "PEER TUTORING RESOURCE" HAS CREATED AN INTERNET
          --------------------------------------I-----                                                                          *i-       --------



       -CENT-ER -PF-INFORM-AT-1911£- _AS_WELL- -AS-8-LOG- -D- -TWI-TTER- -ACT-IYIT-YL BUMED- IQ -
        PEER TUTORING.




                                                                                                                                                                       66,783.
  4




Part Vlll-EM Summary of Program-Related Investments (see instructions)
Describe the two largest program-related investments made by the foundation during the tax year on lines 1 and 2.                                                  Amount


  1 NLA.-------__---------_--___-_-----------------__



  2




All other program-related investments. See instructions.
  3




Total. Add lineslthrough 3..................................................................................... - 0.
BAA                                                                                                                                                          Form 990-PF (2021)




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Part IX Minimum Investment Return (All domestic foundations must complete this part. Foreign foundations,
            see instructions.)

 1 Fair market value of assets not used (or held for use) directly in carrying out charitable, etc., purposes:
   a Average monthly fair market value of securities.                                                                   la

  b Average ofmonthly cash balances.                                                                                    1b

  c Fair market value ofall other assets (see instructions).                                                            1c

  d Total (add linesla, b, andc)............................................................................ ld 0.
  e Reduction claimed for blockage or other factors reported on lines 1 a and

      lc(attach detailed explanation).............................................| le|
 2 Acquisition indebtedness applicable tolinelassets...................................................... 2
 3 Subtract line 2 from line ld ............................................................................. 3


 4 Cash deemed held for charitable activities. Enter 1.5% (0.015) of line 3
      (for greater amount, see instructions).................................................................... 4

 5 Net value of noncharitable-use assets. Subtract line 4 from line 3. Enter here and on Part V, line 4......... 5 0.

 6 Minimum investment return. Enter 5% (0.05) of line 5.................................................... 6 0.

Part X Distributable Amount (see instructions) (Section 49420)(3) and (j)(5) private operating foundations
           and certain foreign organizations, check here Iland do not complete this part.)
 1 Minimum investment return from Part IX, line 6........................................................... 1

 2 a Tax on investment income for 2021 from Part V, line 5........................| 2 a|                         200.

  b Income tax for 2021. (This does not include the tax from Part V.)..............| 2 b|
  c Add lines 2a and 2b.                                                                                                2c               200.

 3 Distributable amount before adjustments. Subtract line 2( from line 1...................................... 3 -200.

 4 Recoveries of amounts treated asqualifying distributions.................................................. 4

 5 Add lines 3 and 4...................................................................................... 5 -200.

 6 Deduction from distributable amount (see instructions).................................................... 6

 7 Distributable amount as adjusted. Subtract line 6 from line 5. Enter here and on Part XII, line 1............. 7 0.


PartiXE Qualifying Distributions (see instructions)

 1 Amounts paid (including administrative expenses) to accomplish charitable, etc., purposes:
  a Expenses, contributions, gifts, etc. - total from Part I, column (d), line 26.                                      la         457,302.
  b Program-related investments -total from Part Vlll-B.....................................................            1b


 2 Amounts paid to acquire assets used (or held for use) directly in carrying out charitable, etc., purposes...... 2

 3 Amounts set aside for specific charitable projects that satisfy the:
  a Suitabilitytest (prior IRS approval required)..............................................................         3a

  b Cash distribution test (attach the required schedule)                                                               3b


 4 Qualifying distributions. Add lines la through 3b. Enter here and on Part XII, line 4........................ 4                 457,302.
BAA                                                                                                                          Form 990-PF (2021)




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Patt Xllf Undistributed Income (see instructions)

                                                                        (a)                    (b)            (c)            01)
                                                                       Corpus           Years prior to 2020         2020                  2021




      line                                                                               7                             0.
 1 Distributable amount for 2021 from Part X,


 2 Undistributed income, if any, as of the end of 2021:

   a       Enter                       amount                            for           2020               only             0.
   b Total for prior years. 20 , 20 , 20 0 .

 3 Excess distributions carryover, if any, to 2021.
   a From 2016

   b From 2017

   c From 2018

   d From 2019
   e      From                     2020                    1


   f Total of lines 3a through e                                                  0.

 4 Qualifying distributions for 2021 from Part XI,                                                                               1


      line 4 4 $                          457,302.
   a     Applied                  to      2020,            but         not      more           than           hne   28      0.

   b Applied to undistributed income of prior years : 2
     (Election required - see instructions) 0,

   c Treated as distributions out of corpus
      (Election required - see instructions) 0,
   d       Applied                            to          2021              distributable                             amount                     0.
   e Remaining amount distributed out of corpus                         457,302.
 5 Excess distributions carryover applied to 2021
      (lf an amount appears in column (d), the
      same                 amount                       must           be       shown               in        column          (a).)        0.     0.

 6 Enter the net total of each column as
      indicated below:

   a Corpus Add lines 3f, 40, and 4e. Subtract line 5                   457,302.

   b Prior years' undistributed income Subtract
     line              4b           from                               line            2b           0,

   c Enter the amount of prior years' undistributed
     income for which a notice of deficiency has
     been issued, or on which the section 4942(a)
     tax has been previously assessed 0.
                                                               494 .

   d Subtract line 6c from line 6b. Taxable
      amount - see instructions............                                                              0.

   e Undistributed income for 2020 Subtract line 4a from

      line 2a. Taxable amount - see instructions O .

   f Undistributed income for 2021. Subtract lines . f
      4d and 5 from line 1. This amount must be
      distributed in 2022                                                                                                                            0.

 7 Amounts treated as distributions out of
      corpus to satisfy requirements imposed by
      section 1 70(b)(1)(F) or 4942(g)(3) (Election
      may be required - see instructions).........                                0.

 8 Excess distributions carr over from 2016 not
      applied on line 5 or line / (see instructions).. 0.

 9 Excess distributions carryover to 2022.
      Subtract lines 7 and 8 from line 6a                               457,302.
10 Analysis of line 9:
   a Excess from 2017.

   b Excess from 2018.

   c Excess from 2019.

   d Excess from 2020.

   e Excess from 2021                          457,302.
BAA                                                                                                                                  Form 990-PF (2021)




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Part xIII Private Operating Foundations (see instructions and Part VI-A, question 9)                                                   N/A
 1 a If the foundation has received a ruling or determination letter that it is a private operating foundation, and the ruling
     iseffective for 2021,enter the date of the ruling................................................................. -
  b Check box to indicate whether the foundation is a private operating foundation described in section El 49420)(3) or 49420)(5)
 2 a Enter the lesser of the adjusted net                 Tax year                            Prior 3 years
      income from Part I or the minimum
                                                                                                                                        (e) Total
      investment return from Part IX for                  (a) 2021           (b) 2020           (c) 2019            (d) 2018
      each year listed .......................
  b 85% (0.85) of line 2a ..................

  c Qualifying distributions from Part XI,
    line 4, for each year listed.............
  d Amounts included in line 2c not used directly
      for active conduct of exempt activities..........

  e Qualifying distributions made directly
    for active conduct of exempt activities.
      Subtract line 2d from line 2c ..........


 3 Complete 3a, b, or c for the
      alternative test relied upon:

  a 'Assets' alternative test - enter:

      (1) Value of all assets.................

      (2) Value of assets qualifying under
           section 49420)(3)(B)(i).............
  b ' Endowment' alternative test - enter 2/3 of

      minimum investment return shown in Part IX,
      line 6, for each yearlisted...................

  c 'Support' alternative test - enter:

      (1) Total support other than gross
           investment income (interest,
           dividends, rents, payments
           on securities loans (section
           512(a)(5)), or royalties)........

      (2) Support from general public and 5 or
           more exempt organizations as provided
           in section 49420)(3)(B)(lii) ...........

      (3) Largest amount of support from
           an exempt organization.........

      (4) Gross investment income..........

Part X[V Supplementary Information (Complete this part only if the foundation had $5,000 or more in
              assets at any time during the year - see instructions.)
 1 Information Regarding Foundation Managers:
  a List any managers of the foundation who have contributed more than 2% of the total contributions received by the foundation before the
      close of any tax year (but only if they have contributed more than $5,000), (See section 507(d)(2).)
      NONE



  b List any managers of the foundation who own 10% or more of the stock of a corporation (or an equally large portion of the ownership of
      a partnership or other entity) of which the foundation has a 10% or greater interest.
      NONE



 2 Information Regarding Contribution, Grant, Gift, Loan, Scholarship, etc., Programs:

      Check here ® if the foundation only makes contributions to preselected charitable organizations and does not accept unsolicited
      requests for funds. If the foundation makes gifts, grants, etc., to individuals or organizations under other conditions, complete items
      2a, b, c, and d. See instructions.

  a The name, address, and telephone number or email address of the person to whom applications should be addressed:




      SEE STATEMENT 7

  b The form in which applications should be submitted and information and materials they should include:


      SEE STATEMENT FOR LINE 2A

  c Any submission deadlines:



       SEE STATEMENT FOR LINE 2A

  d Any restrictions or limitations on awards, such as by geographical areas, charitable fields, kinds of institutions, or other factors:


       SEE STATEMENT FOR LINE 2A

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PariXIV Supplementary Information (continued)
 3 Grants and Contributions Paid During the Year or Approved for Future Payment

                   Recipient
                                               If recipient is an individual, Floundation
                                                show any relationship to                      Purpose of grant or            Amount
                                                                             status of
                                                any foundation manager '                         contribution
                                                or substantial contributor   recipient
      Name and address (home or business)

  a Paid during the year

MILWAUKEE SYMPHONY ORCHESTRA                  NONE                      P C GALA PERFORMANCE                                       5,000

212 W. WICONSIN AVE.

MILWAUKEE WI 53203




      Total...                                                                 ,,,,,,,,,,..,..................... I' 3a            5,000

  b Approved for future payment




      Total.                                                                  .....,,,,,,,..,................... - 3 b

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Part XV-A Analysis of Income-Producing Activities
Enter gross amounts unless otherwise indicated.                      Unrelated business income   Excluded by section 512, 513, or 514
                                                                                                                                               (e)
                                                                      (a) (b) (c) (d) Related or exempt
                                                                    Business         Amount      Exclu-            Amount                function income
                                                                     code                         sion                                  (See instructions.)
  1 Program service revenue:                                                                     code

   a


    b

   C


   d

   e


   f

   g Fees and contracts from government agencies. .
  2 Membership dues and assessments............

  3 Interest on savings and temporary cash nvestments....... 14 788.

  4 Dividends and interest from securities.......... 14 13, 614.
  5 Net rental income or (loss) from real estate:

    a Debt-financed property.
    b Not debt-financed property....................
  6 Net rental income or (loss) from personal property........
  7 Other investment income......................

  8 Gain or (loss) from sales of assets other than inventory.....

  9 Net income or (loss) from special events.......

 10 Gross profit or (loss) from sales of inventory....

 11 Other revenue: a

                      b

                      C


                      d

                      e


 12 Subtotal. Add columns (b), (d), and (e)                                                                             14,402.
 13 Total. Add line 12, columns (b), (d), and (e).............................................................. 13                               14,402.
(See worksheet in line 13 instructions to verify calculations.)


P,tx.84 Relationship of Activities to the Accomplishment of Exempt Purposes
 Line No. Explain below how each activity for which income is reported in column (e) of Part XV-A contributed importantly to the
       V accomplishment of the foundation's exempt purposes (other than by providing funds for such purposes). (See instructions.)

  XV-B DIVIDENDS & INTEREST INCREASE VALUE OF INVESTMENT USED TO FURTHER EXEMPT

             FUNCTION.




BAA                                                                                                                                     Form 990-PF (2021)




                                                                         TEEA0502L 09/04/21
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PartXVII Information Regarding Transfers to and Transactions and Relationships With Noncharitable
                 Exempt Organizations
                                                                                                                                                                                 Yes          No

 1 Did the organization directly or indirectly engage in any of the following with any other organization
      described in section 501 (c) (other than section 501 (c)(3) organizations) or in section 527,
      relating to political organizations?
   a Transfers from the reporting foundation to a noncharitable exempt organization of:

      (1) Cash..................................................................................................... la(1) X

      (2)Other assets.............................................................................................. la(2) X
   b Other transactions:

      (1) Sales of assets toanoncharitable exempt organization...................................................... 1 b (1) X

      (2) Purchases of assets from a noncharitable exempt organization ............................................... 1 b (2) X
      (3)Rental of facilities, equipment, orother assets............................................................... lb(3) X
      (4)Reimbursement arrangements.............................................................................. lb(4) X
      (5) Loans orloan guarantees.................................................................................. lb(5) X
      (6) Performance of services or membership or fundraising solicitations........................................... 1 b (6) X

   c Sharing of facilities, equipment, mailing lists, other assets, or paid employees.....................................                                              1       c       X


   d If the answer to any of the above is 'Yes,' complete the following schedule. Column (b) should always show the fair market value of
      the goods, other assets, or services given by the reporting foundation. If the foundation received less than fair market value in
      any transaction or sharing arrangement, show in column (d) the value of the goods, other assets, or services received.
(a) Line no.      (b) Amount involved             (c) Name of noncharitable exempt organization                 (d) Description of transfers, transactions, and sharing arrangements

N/A




  2 a Is the foundation directly or indirectly affiliated with, or related to, one or more tax-exempt organizations
       described in section 501(c) (other than section 501(c)(3)) or in section 527?......................................... El Yes ®No
    b If 'Yes,' complete the following schedule.

               (a) Name of organization                                  (b) Type of organization                                     (c) Description of relationship

N/A




         Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is true,
         correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.

Sign                                                                                                                                                                   May the IRS discuss
                                                                                                                                                                       this return with the

Here *                                                                                                             PRESIDENT
                                                                                                                                                                       Dreparer shown below?
                                                                                                                                                                       See instructions.


           Signature of officer or trustee                                           Date                          Title
                                                                                                                                                                             | Yes H No
                   Print/Type preparer's name                            Preparer's signature                              Date
                                                                                                                                               Check if PTIN
Paid              CHARLENE R SMITH, CPA                                  CHARLENE R SMITH, CPA 9/20/22                                         self-employed        P00237963

                                       GRANT & SMITH, LLP                                                                                 Firm'sEIN         XX-XXXXXXX
Preparer           Firm's name


                   Firm's address -          333 HEGENBERGER R0AD., SUITE 325
Use Only
                                             OAKLAND, CA 94621                                                                            Phone no.       510-832-0257

BAA                                                                                                                                                                  Form 990-PF (2021)




                                                                                   TEEA0503L 09/02/21
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2021                                    FEDERAL STATEMENTS                                                  PAGE 1

                                            SCHWARTZ FOUNDATION                                            XX-XXXXXXX




  STATEMENT 1
  FORM 990-PF, PART I, LINE 16A
  LEGAL FEES



                                                        (A)       (B)     NET             (C)       (D)
                                                     EXPENSES       INVESTMENT        ADJUSTED          CHARITABLE
                                                     PER BOOKS        INCOME      NET INCOME             PURPOSES


  LEGAL FEES................................... $ 325,851. $                                               325,851.
                                        TOTAL $        325,851. $              0. $            0. $        325,851.




  STATEMENT 2

  FORM 990-PF, PART I, LINE 16B
  ACCOUNTING FEES


                                                        (A)       (B)     NET             (C)       (D)
                                                     EXPENSES       INVESTMENT        ADJUSTED          CHARITABLE
                                                     PER BOOKS        INCOME          NET INCOME         PURPOSES


  ACCOUNTING......... ........................ $         1,175.                       $    1,175.
                                        TOTAL $          1,175. $              0. $              0. $        1,175.




  STATEMENT 3
  FORM 990-PF, PART I, LINE 16C
  OTHER PROFESSIONAL FEES


                                                        (A)       (B)     NET             (C)         (D)
                                                     EXPENSES       INVESTMENT        ADJUSTED          CHARITABLE
                                                     PER BOOKS        INCOME          NET INCOME         PURPOSES


  OUTSIDE CONTRACT SERVICES............. $               3,782.                       $    3,782.
                                        TOTAL $          3,782. $              0. $              0. $        3,782.




  STATEMENT 4

  FORM 990-PF, PART I, LINE 18
  TAXES


                                                        (A)       (B)     NET             (C)           (D)
                                                     EXPENSES       INVESTMENT        ADJUSTED          CHARITABLE
                                                     PER BOOKS        INCOME          NET INCOME         PURPOSES


  FEDERAL TAX. ................................. $         369.                       $      369.
  PAYROLL TAX EXPENSE......................              3,534.                                              3,534.
                                        TOTAL $          3,903. $              0. $              0. $        3,903.
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2021                                      FEDERAL STATEMENTS                                            PAGE 2


CLIENT 6437                                    SCHWARTZ FOUNDATION                                     XX-XXXXXXX

9/20/22                                                                                                    08:39AM



   STATEMENT 5

   FORM 990-PF, PART 1, LINE 23
   OTHER EXPENSES


                                                          (A)      (B)     NET             (C)       (D)
                                                     EXPENSES      INVESTMENT         ADJUSTED      CHARITABLE
                                                     PER BOOKS        INCOME      NET INCOME          PURPOSES


   ADVERTISING..................                                       $   3,010.            $   3,010.
   BANK CHARGES.                                           137.                                            137.

   INSURANCE.....................................          853.                                            853.
   OTHER                  EXPENSES.....,,,,,,,,.............                                          2.   2.
   PAYROLL PROCESSING FEES................               1,450.                                          1,450.
   SENIOR ENTERTAINMENT THERAPY ........                66,583.                                         66,583.
   SUPPLIES...................................... 1,397.                                                 1,397.
   TAXES, LICENSES & FEES...........                       170.                                            170.
   WORKERS' COMP. INSURANCE..............                  470.                                            470.

                                           TOTAL $     74,072. $               0. $          0. $       74,072.




   STATEMENT 6
   FORM 990-PF, PART VI11-A, LINE 3
   SUMMARY OF DIRECT CHARITABLE ACTIVITIES


                                DIRECT CHARITABLE ACTIVITIES                                        EXPENSES


   SENIOR ENTERTAINMENT THERAPY THROUGH MUSIC HELPS RENEW THE MEMORIES $                                66,783.
   OF SENIOR CITIZENS AND STIMULATES BRAIN FUNCTIONS THUS PROVIDING MORE
   SOCIAL AND PHYSICAL ACTIVITY THROUGH SINGING AND DANCING.
   PERFORMANCES WERE PROVIDED TO 23 RETIREMENT HOMES.




   STATEMENT 7

   FORM 990-PF, PART XIV, LINE 2A-D
   APPLICATION SUBMISSION INFORMATION


   NAME OF GRANT PROGRAM:
   NAME:                               MARGOT SCHWARTZ
   CARE OF:
   STREET ADDRESS:                      14665 WASHINGTON AVE., #26
   CITY, STATE, ZIP CODE:               SAN LEANDRO, CA 94578
   TELEPHONE:                           510-638-9100
   E-MAIL ADDRESS:
   FORM AND CONTENT:                   WRITTEN PROGRAM DESCRIPTION
   SUBMISSION DEADLINES:                NONE
   RESTRICTIONS ON AWARDS:              NONE
